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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


IN RE SYNGENTA AG MIR162 CORN
LITIGATION                                     Master File No. 2:14-MD-02591-JWL-JPO

THIS DOCUMENT RELATES TO                       MDL No. 2591
ALL CASES EXCEPT:

 Louis Dreyfus Company Grains
 Merchandising LLC v. Syngenta AG, et
 al., No. 16-2788-JWL-JPO

 Trans Coastal Supply Company, Inc. v.
 Syngenta AG, et al., No. 2:14-cv-02637-
 JWL-JPO

 The Delong Co., Inc. v. Syngenta AG et al.,
 No. 2:17-cv-02614-JWL-JPO

 Agribase International Inc. v. Syngenta
 AG, et al., No. 2:15-cv-02279



 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
PRELIMINARY APPROVAL OF SETTLEMENT, PROVISIONAL CERTIFICATION
OF SETTLEMENT CLASS AND SUBCLASSES, APPOINTMENT OF SETTLEMENT
  CLASS COUNSEL, SUBCLASS COUNSEL, AND CLASS REPRESENTATIVES,
 APPROVAL TO DISSEMINATE THE CLASS NOTICE, APPOINTMENT OF THE
  NOTICE ADMINISTRATOR AND CLAIMS ADMINISTRATOR AND SPECIAL
             MASTERS, AND ADOPTION OF A SCHEDULE FOR
                  THE FINAL APPROVAL PROCESS
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                                              INTRODUCTION

        Plaintiffs1 seek an order granting provisional class certification of a Settlement Class,

preliminarily approving the terms of the $1.51 billion settlement (“Settlement” or “Agreement”)

with the Syngenta Defendants (“Syngenta”),2 appointing Christopher A. Seeger, Daniel E.

Gustafson, and Patrick J. Stueve as counsel for the Settlement Class (“Settlement Class

Counsel”), Lynn R. Johnson, Kenneth A. Wexler, and James E. Cecchi as Subclass Counsel, and

Plaintiffs as class and subclass representatives, approving the form and manner of sending notice

to the Class Members and of the process and form of making claims, appointing BrownGreer

PLC as the Notice and Claims Administrator (“Administrator”), appointing the Special Masters

needed to administrate the claims process, and adopting a schedule to determine whether to grant

final approval under Rule 23(e) of the Federal Rules of Civil Procedure. Consistent with Local

Rule 5.4.4(e), a proposed order will be emailed to the Court.

        On February 26, 2018, Settlement Class and Subclass Counsel, MDL Co-Lead and

Litigation Class Counsel, and the Court-appointed Plaintiffs’ Settlement Negotiation Committee,

on behalf of the Plaintiffs, executed a $1.51 billion proposed class-wide settlement with

Syngenta. See Settlement Agreement, Exhibit A (“SA”).3 This Settlement builds on top of the


        1
           The proposed representatives for the Settlement Class are: Mike DaVault, Bradley DaVault, and David
DaVault d/b/a DaVault ArkMo Farms, Steven A. Wentworth, Charles B. Lex, Five Star Farms, Grafel entities
(Beaver Creek Farms, Inc., Demmer Farms, Inc., Grafel Farms, LLC, and D. and S. Grain & Cattle Co.), David
Polifka, David Polifka Revocable Living Trust, Bottoms Farms Partnership, JPPL, Inc., NEBCO, Inc., TRIPLE BG
Partnership, David Schwaninger, Kaffenbarger Farms, Inc., Bieber Farm, Rolling Ridge Ranch, LLC, Grant
Annexstad, Roger Ward, Leroy Edlund, Charles Cobb (CE Cobb Farms), Robert & Todd Niemeyer (Custom Farm
Services LLC), Marvin Miller, Kruseman Fertilizer Company, and Al-Corn Clean Fuel, LLC (collectively,
“Plaintiffs” or “Representative Plaintiffs”).
        2
            “Syngenta” refers collectively to the various Syngenta affiliates that were named as defendants in this
litigation (Syngenta AG, Syngenta Corporation, Syngenta Crop Protection AG, Syngenta Crop Protection LLC,
Syngenta Biotechnology, Inc., and Syngenta Seeds, LLC (f/k/a Syngenta Seeds, Inc.), collectively with all of their
affiliates and predecessor and successor entities, which are parties to the Settlement.
        3
          They also memorialized in a side letter the thresholds by which Syngenta can exercise its absolute right to
terminate the Agreement, known as its “Walk Away Right.” SA, Ex. A at § 8.31. By separate motion, the Parties


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extraordinary success achieved here, in the coordinated Minnesota-state court centralized

litigation (“Minnesota state court”), and in the Illinois litigation on behalf of corn producers and

non-producers – realized through the hard work and the persistence of Plaintiffs and their

counsel. This $1.51 billion settlement – none of which will revert to Syngenta and all of which

will be distributed – is a record-breaking achievement in agricultural litigation, the largest-ever

GMO settlement in the United States. And the simple claims process and extensive notice

campaign will ensure that a significant monetary recovery is made available and distributed to

Class Members.

         The Settlement easily satisfies the standards for preliminary approval under Rule 23 of

the Federal Rules of Civil Procedure. As the Court knows from its first-hand involvement and

reports from the Court-appointed Special Master, this Settlement is the product of serious,

informed, non-collusive negotiations achieved through the Court-ordered negotiation process

only after a jury verdict in favor of the Plaintiffs. It was secured through negotiations by Court-

appointed leadership counsel, counsel representing over 50,000 individual producers and non-

producers and the Plaintiffs’ Settlement Negotiation Committee (hereinafter “PNC”). These

negotiations were assisted by the Court-appointed mediator, a Court-appointed special master

from the coordinated litigation in Illinois, and through the oversight and involvement of the

Honorable John W. Lungstrum, United States District Judge for the District of Kansas, the

Honorable David Herndon, United States District Judge for the Southern District of Illinois, and

the Honorable Laurie J. Miller, District Judge for the for the Fourth Judicial District of Hennepin

County, Minnesota, who was designated by this and the coordinating courts to oversee

settlement negotiations. Ultimately, the Settlement was achieved only after months of in-person

ask that this letter be filed under seal with access limited to Settlement Class Counsel, Subclass Counsel, Plaintiffs’
Negotiating Committee, and Syngenta. Id. As set forth in the separate motion, the purpose of sealing the walkaway
thresholds under seal is to discourage gamesmanship in the exclusion process.



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and telephonic meetings between the negotiating parties and each of the constituent judges.

Every material aspect of the Settlement was the product of hard-bargaining and difficult

compromise.     The $1.51 billion non-reversionary Settlement has no deficiencies, does not

improperly grant preferential treatment to class representatives or segments of the class, and

easily falls within the range of possible approval. It contains none of the “red flags” sometimes

associated with collusive settlements: there is no reversion of unclaimed funds, the 150-day

proposed claims program where class members can submit claims online or by mail is robust and

lengthy, discrete subclasses are represented by separate counsel, and the process for submitting

claims is simple and non-burdensome (nearly all of the over 600,000 Class Members will be able

to submit claims that will be automatically verified by government records and thus will not have

to personally produce a single record).

       Moreover, the Settlement has the full support of the PNC (who represented both class and

individuals plaintiffs), the MDL Co-Lead and Litigation Counsel, who prosecuted the litigation

through discovery and tried the Kansas class action to a favorable jury verdict, the Minnesota

Co-Lead Counsel who prosecuted the Minnesota cases through discovery and were three weeks

into the Minnesota class trial when a settlement term sheet was executed, and Subclass Counsel.

This diverse group of Plaintiffs’ lawyers “appropriately balances the goals of representing the

interests of different groups of producer plaintiffs,” including those who had pursued class action

claims and those who had pursued individual actions. Order Appointing Plaintiffs’ Settlement

Negotiation Committee in the Syngenta Litig., ECF No. 3366.            Finally, this $1.51 billion

settlement was achieved despite the vigorous defenses advanced by Syngenta through top-caliber

defense counsel, including the uncertainty of future jury verdicts and legal issues that had not yet

been settled by any appellate court in these matters. For these reasons, the Agreement warrants




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preliminary approval and dissemination of Notice to the over 600,000 members of the Settlement

Class so that they may decide for themselves whether to accept this Settlement.

       Additionally, the Settlement Class satisfies the standard for certification under Rule 23(a)

and (b)(3) for reasons that this Court has largely already explained when it previously certified a

nationwide litigation class in an order that the Tenth Circuit described as “well-researched and

reasoned.” Dec. 7, 2016 Order, No. 16-607 (10th Cir. Dec. 7, 2016) (ECF No. 2741 at 3).

Further, the proposed Notice Plan – which will include twice-sent direct-mail notice to nearly all

Class Members along with radio, Internet, targeted social media, and print advertising – far

exceeds any procedural and constitutional requirements and is designed to reach each and every

Class Member.       In short, this historic settlement warrants provisional certification and

preliminary approval so that Class Members may submit their claims for a share of the $1.51

billion in pure-cash relief achieved after nearly four years of hard-fought litigation.

       For these reasons and those explained below, Plaintiffs respectfully request that the Court

grant all relief requested and enter an order consistent with the proposed order submitted

herewith.

                                   FACTUAL BACKGROUND

       This Settlement is the result of almost four years of jurisdiction-spanning litigation,

numerous legal rulings, hundreds of depositions taken across the world, two trials, and one jury

verdict. Its history is recounted in summary form here.

       A.      Jurisdiction-Spanning Proceedings on Behalf of Producers and Non-
               Producers.

       Beginning in the fall of 2014, numerous lawsuits were filed in multiple federal and state

courts arising from Syngenta’s decision to commercialize two genetically modified (“GMO”)

corn seeds containing the traits known as MIR162 and Event 5307 under the brand names



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Agrisure Viptera (MIR162) (“Viptera”) and Agrisure Duracade (“Duracade”) prior to obtaining

China’s approval to import corn grown with those traits. See Pls.’ Fourth Am. Consolidated

Master Class Action Compl. (“4th Am. Compl.”), ECF No. 3505 at pp. 2-6. As alleged by

Plaintiffs, as a result of that decision, China – the world’s largest market for feed grains and a

growing and important importer of United States corn and the corn by-product DDGs – ceased

imports from the United States. Id. at ¶¶ 343-403. This harmed corn producers because lower

demand meant lower prices. Id. at ¶¶ 387-88. Moreover, that harm allegedly extended to the

grain elevators who serviced that demand, id. at ¶¶ 390-93; and, to the ethanol-production

facilities who produced DDGs from corn whose harm arose when China – the largest buyer of

U.S. DDGs – stopped buying U.S. corn, id. at ¶¶ 394-403.

        In December 2014, the Judicial Panel on Multidistrict Litigation (“JPML”) consolidated

the then-filed class and individual federal actions and transferred them to this District. Transfer

Order, ECF No. 1. After entertaining applications for leadership, on January 22, 2015, the Court

appointed Don M. Downing, William B. Chaney, Scott A. Powell, and Patrick J. Stueve as MDL

Co-Lead Counsel. Order Concerning Appointment of Counsel, ECF No. 67 at 6. The Court

further appointed an Executive Committee, consisting of Jayne Conroy, Christopher Ellis, David

Graham, Richard Paul, Robert Shelquist, John Ursu, Stephen Weiss, Scott Poynter and Tom

Bender.4 In selecting this leadership, the Court noted that this team “included representatives” of

multiple interests, including “plaintiffs in this case [who] desire to proceed by individual

actions,” “[o]thers [who] prefer the certification of one or more classes,” those “who seek or will

seek remand to state court,” “large entities, [and] others [who] operate small farms.” Id. at 67.

        On March 13, 2015, the federal MDL Plaintiffs filed two consolidated master complaints


        4
         Tom Cartmell was also appointed but subsequently withdrew from leadership on June 29, 2015. ECF No.
891. Mr. Graham also withdrew, but only recently, following his client’s settlement with Syngenta. ECF No. 3498.


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in the MDL – one on behalf of corn producers and one on behalf of non-producers, including

grain elevators.          ECF Nos. 296-97.          Plaintiffs with individual cases could join in those

complaints by filing a simple Notice to Conform. ECF No. 287. Many did. See generally ECF

Nos. 386, 461.

           Meanwhile, numerous individual producer and non-producer cases, along with a class

action covering Minnesota producers, were filed and consolidated in Hennepin County,

Minnesota state court. See In re Syngenta Class Action Litigation, Court File No. 27-CV-15-

12625 and 27-cv-15-3785 (4th Jud. Dist. Ct. Minn.) (“MN MDL”).                                Those cases were

consolidated before a single judge. On August 5, 2015, the Minnesota state court appointed

Lewis A. Remele, Jr. and Francisco Guerra, IV as Co-Lead Counsel; William R. Siebel and

Daniel E. Gustafson as Co-Lead Interim Class Counsel; and Robert K. Shelquist, Richard M.

Paul III, Will Kemp, Tyler Hudson and Paul Byrd as members of the Plaintiffs’ Executive

Committee.5           Order, MN MDL (Aug. 5, 2014) at 2-3.                  Minnesota Plaintiffs also filed a

consolidated master complaint to which individual plaintiffs could conform their cases by filing

a simple notice to conform. See Order Approving Notices to Conform, MN MDL (Oct. 30,

2015). Ultimately, more than 3,000 cases representing over 50,000 individual plaintiffs, were

filed and consolidated in Minnesota.

           On October 21, 2015, this Court entered a Coordination Order in which it encouraged and

required the parties and the Courts in related actions, including the federal MDL and the

Minnesota litigation, to coordinate the conduct of discovery against Syngenta. Coordination

Order, ECF No. 1099. On November 4, 2015, the Minnesota state court adopted the MDL

Coordination Order. Coordination Order, MN MDL (Nov. 4, 2015).


           5
               That court also appointed Clayton A. Clark but he withdrew from leadership shortly after the order was
entered.


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       On November 3, 2015, more than one-hundred producer plaintiffs filed suit against

Syngenta in Madison County, Illinois state court. Syngenta removed their cases to the United

States District Court for the Southern District of Illinois (“Illinois federal court”), pursuant to the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2)(A) & 1453(b). See Poletti v.

Syngenta AG, No. 3:15-cv-01221-DRH, ECF No. 1 (S.D. Ill. Nov. 3, 2015). On November 16,

2015, the Illinois federal court held that the matter was a “mass action” under CAFA and

therefore not subject to multi-jurisdictional transfer by the JPML. Id., ECF No. 14; see 28

U.S.C. § 1332(d)(11(C)(i). The Poletti action was subsequently split into two cases: Poletti and

Tweet v. Syngenta AG, No. 3:16-cv-00255-DRH (S.D. Ill.). Id., ECF No. 63, and consolidated as

In re Syngenta Mass Tort Actions. On February 1, 2016, the Coordination Order was entered in

Poletti. Id., ECF No. 44.

       On January 7, 2016, nearly two hundred additional cases filed in Illinois state court were

consolidated by the Illinois Supreme Court before the Honorable Brad K. Bleyer. Browning v.

Syngenta Seeds, Inc. et al., No. 15-L-157 (Ill. Cir. Ct.). Thereafter, thousands of additional

individual cases were filed in Illinois state court. Likewise, a number of class actions were filed

on behalf of non-producer ethanol plants in Ohio, Michigan, Nebraska, Indiana, and Iowa state

courts. See Fostoria Ethanol, LLC v. Syngenta Seeds, Inc. No. 15-cv-0323 (Seneca Cnty., Ohio);

Michigan Ethanol, LLC v. Syngenta Seeds, LLC, et al., No. 17-29831-NZ (Tuscola Cnty.,

Mich.); Mid America Agri Products/Wheatland, LLC v. Syngenta Seeds, LLC, et al. No. CI 14-32

(Perkins Cnty., Neb.); Ultimate Ethanol, LLC v. Syngenta Seeds, Inc. et al., No. 48C05-1512-

CT-000184 (Madison Cnty., Indiana); and TCE, LLC v. Syngenta Seeds, Inc., No. EQCV 039491

(Carroll Cnty., Iowa).




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       B.      Pre-Trial Proceedings for Class and Individual Producers and Non-
               Producers.

       Discovery proceeded immediately upon appointment of counsel in the federal MDL. At

MDL Plaintiffs’ request, the Court ordered Syngenta to begin producing discrete categories of

documents. See Scheduling Order No. 1, ECF No. 123 at 9 (Feb. 4, 2015). On May 29, 2015,

MDL Plaintiffs filed amended master complaints on behalf of producers and non-producers

asserting a federal Lanham Act and multiple state-law claims. ECF Nos. 450-51. On June 19,

2015, Syngenta filed a 250-page motion to dismiss the claims in both complaints, where it

characterized the lawsuits as “unprecedented attempts to turn a seed manufacturer into an

insurer.” Syngenta’s Mem. of Law in Supp. of Mot. to Dismiss Producer and Non-Producer Pls.’

Am. Class Action Master Compls., ECF No. 587 at 1. Following briefing by the MDL Plaintiffs,

this Court issued a 120-page memorandum and opinion granting in part and denying in part the

motion to dismiss, leaving intact Plaintiffs’ Lanham Act, negligence, tortious interference, and

several consumer-protection claims. Mem. & Order, ECF No. 1016 (Sept. 11, 2015). The Court

denied Syngenta’s bid for interlocutory appeal of that ruling on October 19, 2015. ECF No.

1097 at 1.

       Syngenta filed a similar motion to dismiss in the Minnesota state court. In a 55-page

opinion, the Minnesota state court also issued a ruling largely denying dismissal. Order, MN

MDL (Apr. 7, 2016). After lengthy briefing, motions to dismiss by Syngenta were also rebuffed

in the Illinois state court litigation and the Southern District of Illinois “Mass Action” Litigation.

Syngenta re-urged the arguments presented in other jurisdictions, and dismissal was granted in

full by an Ohio state court judge on all claims by a putative class of ethanol production facilities

in Fostoria Ethanol.     J. Entry, Fostoria Ethanol, LLC d/b/a Poet Biorefining-Fostoria v.

Syngenta Seeds et al., 15-CV-032, (Ct. of Common Pleas of Seneca Cnty., Ohio July 10, 2017),



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attached as Ex. B.

        After the motions to dismiss were denied in this Court and in Minnesota, full fact

 discovery commenced for both the class and individual cases. On October 21, 2015, this Court

 established a simultaneous track for both class and individual cases. See Scheduling Order No.

 2, ECF No. 1098. Cognizant of the fact that some plaintiffs were “small family farmers” and

 “others are sophisticated farming conglomerates” and that some “are grain elevators that deliver

 grain into export channels” while “others are grain elevators serving domestic locales,” the

 Court established an initial bellwether discovery pool of 5 non-producers and 6 producers from

 eight of the states from which plaintiffs had filed claims. Id. at 6. In addition, discovery

 commenced for each of the putative class representatives for these eight bellwether states as

 well as for six non-class representatives (individual) plaintiffs selected by the parties (three by

 Syngenta, three by plaintiffs) for each of the eight bellwether states. See Id. Fact discovery

 was scheduled to close on May 2, 2016, and Plaintiffs’ motion for class certification, and any

 supporting expert reports, of the eight bellwether states was due on June 15, 2016. Id. at 9-10.

        The Minnesota state court adopted a similar approach with similar deadlines. An initial

 discovery pool was established consisting of all named class representatives to the Minnesota

 class action and 40 bellwether plaintiffs to be selected by the parties. Scheduling Order No. 2,

 MN MDL at 2. There, the parties also had until May 2, 2016 to complete fact discovery on

 these cases and until June 15, 2016 to file a motion for class certification. Id. at 3-4. Both

 courts required all plaintiffs who filed cases to complete and submit to Syngenta limited written

 discovery in the form of a Plaintiff Fact Sheet. See Scheduling Order No. 2, ECF No. 1098 at 7

 (“Simply stated, plaintiffs initiated this litigation and it is only reasonable to expect them to

 devote the no more than one or two days of time necessary to gather the very limited and basic




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information to complete their PFSs.”).

       As the cases proceeded, the MDL and Minnesota plaintiffs coordinated discovery

against Syngenta and with respect to numerous third-party exporters and trade organizations. In

total, Plaintiffs obtained 2.3 million pages of responsive documents from these parties, which

were collected into a consolidated document depository made available in all coordinating

cases, and subject to a thorough, multi-level document review. Declaration of Patrick J. Stueve

(“Stueve Decl.”) at ¶ 5. Plaintiffs deposed 31 Syngenta witnesses over the course of 57 days on

4 continents. Id. at ¶ 6. In total, 5,717 documents were marked as deposition exhibits. Id.

       All of the bellwether plaintiffs and putative class representatives for the eight bellwether

states in the MDL and in Minnesota responded to written discovery and were deposed. In total,

seventy-seven plaintiff depositions were taken in the MDL. Id. at ¶ 7. MDL Co-Lead Counsel

organized a deposition team to prepare and produce plaintiffs on behalf of, or in conjunction,

with individual counsel. Id. In Minnesota, all of the plaintiff class representatives’ depositions

were taken as were those of numerous bellwether plaintiffs. Minnesota appointed counsel

similarly organized a deposition team to prepare and produce plaintiffs. Declaration of Daniel

E. Gustafson (“Gustafson Decl.”) at ¶ 7.

       The MDL and Minnesota Class Plaintiffs jointly retained two agricultural economists to

provide opinions in support of class certification. Stueve Decl. at ¶ 8; Gustafson Decl. at ¶ 8.

Both issued reports in support of class certification, laying out evidence of common injury and

a class-wide damages methodology. Stueve Decl. at ¶ 8. The experts were produced for

deposition on June 28-29, 2016 and July 6, 2016. Id.

       On June 15, 2016, Plaintiffs in the MDL moved for certification of a nationwide class

and the eight bellwether state-law classes. ECF No. 2156. Their supporting memoranda




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contained 114 pages of argument and over 1,500 pages of evidence. ECF No. 2164. Syngenta

filed a 127-page opposition brief with over 800 pages of evidence, including the reports of three

economists. ECF No. 2335. Plaintiffs deposed each of the experts and filed a 104-page reply

with another 1,800 pages of evidence. ECF No. 2436. The Court held an evidentiary hearing,

which Judge Thomas M. Sipkins, then presiding over the Minnesota state court, attended,

where it heard evidence from both of Plaintiffs’ agricultural economists and argument from

counsel. Also on June 15, 2016, Plaintiffs in Minnesota moved to certify the Minnesota class

with the same agricultural economists as the MDL Plaintiffs used. Gustafson Decl. at ¶ 8. On

September 16, 2016, the Minnesota state court separately heard argument on Minnesota

Plaintiffs’ motion for class certification.

        On September 26, 2016, the Court granted in full MDL Plaintiffs’ motion for class

certification. Mem. & Order, ECF No. 2547. On November 13, 2016, the Minnesota state

court granted in full the Minnesota class motion. Order, MN MDL (Nov. 3, 2016). Syngenta

petitioned for interlocutory appeal of both orders. On December 7, 2016, the Tenth Circuit

denied interlocutory review of the MDL order, finding it “well-researched and reasoned.” Dec.

7, 2016 Order, No. 16-607 (10th Cir.) (ECF No. 2741). On January 10, 2017, the Minnesota

Court of Appeals also denied interlocutory review. Plaintiffs disseminated first-class, mailed

notice to the respective classes. Stueve Decl. at ¶ 10; Gustafson Decl. at ¶ 12.

        Trials were set in Minnesota and the MDL. In Minnesota, the first trial of an individual

plaintiff was scheduled to begin in April 2017. In the MDL, the first trial was set for June

2017. The parties proceeded to expert discovery. MDL Plaintiffs prepared and produced six

expert witnesses, including two agricultural economists on issues related to biotechnology, the

standard of care, GMO cross pollination, the Chinese regulatory system, agricultural




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economics, and damages. Stueve Decl. at ¶¶ 8, 11. The Minnesota Plaintiffs produced reports

for the same experts, along with additional experts on corporate governance, among other

things, ultimately producing twelve expert reports in all. Gustafson Decl. at ¶ 13. Syngenta

produced reports for 12 experts in the MDL and 14 experts in the Minnesota state cases. All of

the experts were deposed. Stueve Decl. at ¶ 12; Gustafson Decl. at ¶ 15.

       In February 2017, the parties on both sides filed motions for summary judgment (in

Plaintiffs’ case, partial summary judgment) in both the MDL and in Minnesota. ECF Nos.

2858-62; Syngenta's Notice of Mot. and Mot. for P. Summ. J. on Minnesota Class Claims, MN

MDL (May 26, 2017), Class Plaintiffs' Notice of Mot. and Mot. for P. Summ. J., MN MDL

(May 26, 2017). The motions were granted in part and denied in part. ECF No. 3051; Order

Regarding Summ. J. Mot., MN MDL (Aug. 17, 2017). The parties also filed extensive briefing

related to, and the respective courts ruled on, motions related to admissibility of expert

opinions. E.g., ECF No. 3134.

       C.    Trial Proceedings and Verdict.

       On April 26, 2017, in Minnesota, a mistrial was declared in the first bellwether case

due to a problem that arose with the jury. Gustafson Decl. at ¶ 16. On June 5, 2017, a jury

trial began in the MDL of the claims asserted on behalf of the Kansas class. Stueve Decl. at ¶

13. The trial was preceded by extensive work on motions in limine (see ECF Nos. 3098, 3101,

3108, 3143), and disputed jury instructions (see ECF Nos. 3187, 3188, 3192). Rule 50(a)

motions for directed verdict came at the close of plaintiffs’ case. ECF Nos. 3265, 3266. On

June 23, 2017, the jury returned a $217.7 million verdict on behalf of the Kansas class. Jury

Verdict, ECF No. 3304.      On July 21, 2017, Syngenta filed a post-trial motion, seeking

judgment as a matter of law (or alternatively a new trial) and/or remittitur. ECF No. 3343. In




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addition, Syngenta filed a motion for entry of judgment pursuant to Rule 54(b) of the Federal

Rule of Civil Procedure for the express purpose of taking an immediate appeal from the

Kansas judgment. ECF No. 3439.

       On September 11, 2017, a jury trial began in Minnesota on behalf of the Minnesota

class, and proceeded through the Plaintiffs’ case-in-chief, when the parties announced they had

executed a settlement term sheet. That Court then dismissed the jurors because a term sheet

was executed by Syngenta and the PNC.

        D.    Settlement Negotiations.

       On February 25, 2016, the Court entered a coordination order related to settlement,

indicating its intent to appoint a special master and require settlement coordination between the

various jurisdictions where cases were then pending. ECF No. 1600. On March 23, 2016, the

Court appointed Ellen K. Reisman (“Special Master”) “to assist the court in efficiently

coordinating settlement discussions in these proceedings.” Order Appointing Special Master

for Settlement, ECF No. 1745 at 2. With the assistance of the Special Master, the parties

began meeting regularly and by telephone to discuss settlement.

       Following the June 23 jury verdict in Kansas, on August 9, 2017, the Court, after

consultation with the Special Master, as well as the courts in Minnesota and Illinois, appointed

the PNC to work towards reaching a resolution of the various matters. Order Appointing

Plaintiffs’ Settlement Negotiation Committee in the Syngenta Litig., ECF No. 3366. The

members of the PNC were: Christopher A. Seeger; Mikal Watts; Clayton A. Clark; and Daniel

Gustafson. Id. at 3. The Court expressly found that this committee would “appropriately

balance[] the goals of representing the interests of different groups of producer plaintiffs while

maintaining a workably sized group to conduct settlement negotiations.” Id. at 3. The group




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 included class counsel in Minnesota (Mr. Gustafson), lawyers representing tens of thousands

 of individual plaintiffs, including non-producers (Messrs. Clark and Watts), and Mr. Seeger,

 each of whom has had significant experience in resolving high-dollar multi-district litigation

 and whose law firms each performed key work in the MDL. The order was also entered in

 Minnesota and Illinois.

        The order directed the parties to “report on a weekly basis to the Honorable David R.

 Herndon” – the judge overseeing the federal mass-tort cases in Illinois. Id. at 3. The Special

 Master subsequently requested that the Honorable Daniel Stack (ret.), who was special

 discovery master in the Illinois state and federal cases, assist in settlement negotiations. Decl.

 of Christopher A. Seeger (“Seeger Decl.”) at ¶ 4. The PNC met in person and by phone with

 counsel for Syngenta, the Special Master, and Judge Stack on numerous occasions.

        On September 25, 2017, mid-way through the Minnesota class trial, the PNC executed

 a term sheet with Syngenta providing for a $1.51 billion settlement. Id. at ¶ 6. The jury in the

 Minnesota case was released. Id.

       Several months of further, intense negotiations over the precise terms of the settlement

and the process for distributing the funds proceeded between the PNC, Syngenta, and MDL Co-

Lead Counsel Patrick J. Stueve (on behalf of the MDL litigation classes). Id. at ¶ 7. In addition,

separate counsel - Lynn R. Johnson, Kenneth A. Wexler, and James E. Cecchi - were involved to

negotiate for the amount of relief and procedure for paying members of three subclasses defined

in Section E-1 below. Id. at ¶ 8. At all times, the negotiations were held at arm’s length and

were non-collusive. Id. at ¶ 9. The assistance and involvement of the Special Master and Judge

Stack were required on several occasions.




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       Throughout this time, the Court and Judges Herndon and Miller all played a critical

active oversight role in these negotiations, holding regular telephone calls with the Special

Master on at least a weekly basis, and helping counsel at meetings held in the Southern District

of Illinois, Kansas City, and Minnesota to break the impasse on thorny issues that had become

obstacles to the hammering out of a comprehensive settlement agreement. Id. at ¶ 10.

       Reflecting the vigorous representation by the parties involved and the extent to which

each side was negotiating on behalf of their constituents, this Court, and the other courts,

convened two in-person hearings to discuss the status of the settlement. See Order Setting

Settlement Status Conference, ECF Nos. 3481, 3488; Seeger Decl. at ¶ 11. A further conference

was set for February 26, 2018 in the event the parties had not finalized settlement documents,

where the Court ordered it would “continu[e] from day-to-day thereafter.” Order Regarding

Settlement Status Report, ECF No. 3492 at 2; Seeger Decl. at ¶ 11.

       Additional in-person meetings were held in New York on February 21-22, 2018. Seeger

Decl. at ¶ 12. Ultimately, on February 26, 2018, after months of hard-fought negotiations,

Settlement Class Counsel, Subclass Counsel, the PNC, MDL Co-Lead and Litigation Class

Counsel, and Syngenta executed the Settlement Agreement. Id.

       E.      The Settlement Agreement.

       The Settlement provides an extraordinary monetary payment to the Class in exchange for

a class-wide release. The Settlement’s key terms are discussed below.

              1.      Settlement Relief and Release.

       To resolve the claims of the Settlement Class, Syngenta has agreed to put $1.51 billion

into escrow. The first $200 million is due by March 28, 2018, a portion of which may be used to

pay the fees and expenses of the Administrator, as well as for the Class Notice. Ex. A, SA §



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3.7.1.2. Syngenta will make a second deposit of $200 million no later than March 31, 2018 (id.

at § 3.7.1.3), and the final installment constituting the remainder of the $1.51 billion will be

deposited on April 1, 2019 or within thirty days of the Court’s final approval of the Settlement,

whichever is later (id. at § 3.7.1.5). As long as the settlement is approved and becomes Final, no

portion of the $1.51 billion will revert to Syngenta. See id. at § 3.7.1.1 (“Upon the Final

Effective Date of this Agreement, Syngenta shall have no right of reversion in the Gross

Settlement Proceeds.”).

        For settlement purposes only, the Settlement Class is defined as: “Any Person in the

 United States that during the Class Period owned any Interest in Corn in the United States

 priced for sale during the Class Period and falls into one of the four sub-classes[.]” Id. at § 1.1.

 In turn, the Settlement Subclasses are defined as:

        (1) Subclass 1: Any Producer in the United States that, during the Class Period owned
            any Interest in Corn in the United States priced for sale during the Class Period,
            excluding Producers that, at any time prior to the end of the Class Period, purchased
            Agrisure Viptera and/or Agrisure Duracade Corn Seed and produced Corn grown
            from Agrisure Viptera or Agrisure Duracade Corn Seed.

        (2) Subclass 2: Any Producer in the United States that during the Class Period owned
            any Interest in Corn in the United States priced for sale during the Class Period and
            that, at any time prior to the end of the Class Period, purchased Agrisure Viptera
            and/or Agrisure Duracade Corn Seed and produced Corn grown from Agrisure
            Viptera and/or Agrisure Duracade Corn Seed.

        (3) Subclass 3: Any Grain Handling Facility in the United States that during the Class
            Period owned any Interest in Corn in the United States priced for sale during the
            Class Period.

        (4) Subclass 4: Any Ethanol Production Facility in the United States that during the
            Class Period owned any Interest in Corn in the United States priced for sale during
            the Class Period.

Id. at § 1.2. The Class Period spans from September 15, 2013 through (assuming it is granted)

the date of preliminary approval of the Settlement. Id. at § 2.13. “Corn” and “Interest” have

specific definitions pursuant to the Settlement Agreement based on their use therein. See id. at §


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2.17 and § 2.34, respectively.

        The Settlement Class does not include: (a) the Court and its officers, employees,

appointees, and relatives; (b) Syngenta and its affiliates, subsidiaries, officers, directors,

employees, contractors, agents, and representatives; (c) all plaintiffs’ counsel in the MDL

Actions or the Related Actions; (d) government entities; (e) those who opt out of the Settlement

Class; and (f) a number of “Excluded Exporters” enumerated in section 2.22 of the Agreement.

Id. at § 1.3.

        Class Members who do not opt out will release Syngenta from claims co-extensive with

the legal and factual claims that were or could have been made against Syngenta in the MDL

and related litigation. Specifically, the release extends to all claims

        that have been or could have been brought in connection with the development,
        introduction, production, distribution, sale, marketing, and efforts to gain
        regulatory approval of Agrisure Viptera and/or Agrisure Duracade Corn Seed, and
        including, but not limited to, any Claim based on the alleged decrease in price of
        Corn, soy, milo, DDGs, or any other commodity, grain re-direction costs, or any
        other form of alleged harm or damage, subject only to the express exceptions
        listed in the Reservation of Claims and Rights in Section 6.2 [of the Settlement
        Agreement].

Id. at § 6.1.1. Any claims for bodily harm related to Agrisure Viptera or Duracade are not

released. Id. at § 6.2.1. In addition, the release is mutual to the extent that Syngenta may not

seek to assign “contributory or comparative fault, assumption of the risk, or similar claims for

sharing or allocating fault” against Class Members, unless that Class Member obtains a

judgment against a non-released party to which Syngenta is subjected to a claim for contribution

or indemnity. Id. at §§ 6.1.7 & 6.2.2.

         If the Court does not approve the Settlement or certify the Settlement Classes, then

 pursuant to the Settlement Agreement, no class shall be deemed certified by or as a result of

 the Agreement, the Fourth Amended Complaint shall be stricken, and the MDL Actions and



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 Related Actions (as set forth in Exhibit 1 of Settlement Agreement) for all purposes shall revert

 to the status as of the date before execution of the Agreement, and all stayed proceedings shall

 resume in a reasonable manner approved by the Court. Id. at § 6.2.4. In the MDL, this would

 leave the resolution of Syngenta’s Post-Trial Rule 50(b) Motion for Judgment as a Matter of

 Law and Alternatively, Rule 59 Motion for a New Trial and/or Remittitur (ECF No. 3343) as it

 relates to the Kansas Judgment and Jury Verdict entered on June 23, 2017 (ECF No. 3312), the

 seven currently remaining statewide classes to try their cases in three consolidated trials (ECF

 No. 3319), as well as a motion in the MDL to certify twelve additional statewide classes,

 which is currently pending. ECF Nos. 3431, 3436. In Minnesota, this would leave the

 Minnesota Class to have its claims tried, four bellwether trials, and an overwhelmingly large

 number of individual cases to proceed through discovery and trial. In federal and state courts

 in Illinois, this would also leave an overwhelmingly large number of individual cases to

 proceed through discovery and trial.

               2.      The Proposed Allocation and Distribution Method.

        Subject to this Court’s preliminary approval of the Settlement and the proposed form

 of notice, Plaintiffs will notify the Class about the method of allocation and distribution for the

 Net Settlement Fund as set forth in the Settlement Agreement. The proposed allocation

 method, claims procedure and method for distribution are outlined below.

                       a.     The Method of Allocation.

       As set forth above, the PNC, Settlement Class Counsel, and Subclass Counsel engaged in

arms-length negotiations to divide the Settlement Fund (the $1.51 billion) among the Subclasses.

Those negotiations resulted in the following allocation: All costs of Settlement Administration,

including but not limited to, costs related to Class Notice, fees and expenses of the Claims




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Administrator, Notice Administrator and the Special Masters, and the Fees and Expense Awards

shall be deducted from the Settlement Fund. Ex. A, SA § 3.7.2.1(a). Then, no more than

$22,600,000 of the Settlement Fund may be used to pay Subclass 2 (those producers who

purchased and planted Agrisure Viptera or Duracade), provided the average recovery for Class

Members in Subclass 2 cannot exceed the average recovery of those in Subclass 1 (id. at §

3.7.2.1(b)(i)); no more than $29,900,000 may be used to pay Subclass 3 (the Grain-Handling

Facilities covered by the Settlement) (id. at § 3.7.2.1(b)(ii)); and no more than $19,500,000 may

be used to pay Subclass 4 (the Ethanol Facilities that are covered by the Settlement) (id. at §

3.7.2.1(b)(iii)). The remaining money from the Settlement Fund will be used to pay members of

Subclass 1 (corn producers who did not purchase and plant Agrisure Viptera or Duracade corn

seeds). Id. at § 3.7.2.1(b)(iv). To the extent that a Class Member has Interests in more than one

Subclass, nothing prohibits that Class Member from recovering for each Interest, provided that

there can be no duplicative recovery. Id. at § 3.10.1.

       In allocating among members of each Subclass, the settlement proceeds will be paid

based on each Class Members’ “Compensable Recovery Quantities.” Id. at § 2.15. For Class

Members in Subclasses 1 or 2 (Corn Producers), a Compensable Recovery Quantity means “a

Corn bushel for which a Producer Class member is entitled to make a recovery under the

Allocation Methodology.” Id. at § 2.15.1. This will be determined as follows:

       For any acreage reported to USDA for Form FSA 578 purposes, Form FSA 578
       shall be the exclusive manner in which acreage is determined. The Claims
       Administrator shall first determine the number of Corn acres reported on the
       Producer’s Form FSA 578 in each Marketing Year, exclusive of acres reported as
       failed or for silage, which shall be multiplied by the Producer’s share in those
       acres as reported on the Form FSA 578. The Claims Administrator shall then
       convert the Producer’s acreage in each Marketing Year to bushels by (a)
       multiplying the Producer’s acreage by the average county yield as reported by
       USDA NASS (or if no county yield is reported, the nearest average yield
       available as determined by the Claims Administrator); (b) deducting the



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        percentage of bushels reported as “fed on farm” as reported on the Producer’s
        Claim Form; (c) multiplying the resulting bushels in each Marketing Year
        according to a weighted average; and (d) summing the resulting bushels.

Id. at § 2.15.1.1.

        For any acreage not reported to USDA for Form FSA 578 purposes, but for which
        RMA Data is available, RMA Data shall be the exclusive manner in which
        acreage is determined. For this acreage, Compensable Recovery Quantity shall be
        determined in the same manner as that stated above except using RMA Data
        instead of Form FSA 578 data.

Id. at § 2.15.1.2.

        For any acreage not reported to USDA for Form FSA 578 purposes and for which
        RMA Data is not available (including Claims by landlords whose Interest is not
        reflected in Form FSA 578 or RMA Data), Compensable Recovery Quantity shall
        be determined in the same manner as that stated above, except using information
        reported on the Claim Form.

Id. at § 2.15.1.3. For purposes of determining the Compensable Recovery Quantities for Corn

Producer Class Members (Members of Subclass 1 and 2), the following weighted averages will

be used for each respective Marketing Year:

         2013/14 -   26%
         2014/15 -   33%
         2015/16 -   20%
         2016/17 -   11%
         2017/18 -   10%

These averages are equivalent to the per-bushel damages impact found by Marketing Year by

Plaintiffs’ economic experts during the litigation.

        For Class Members in Subclass 3 (Grain-Handling Facilities), Compensable Recovery

Quantities means “a Corn bushel for which a Grain Handling Facility Class member is entitled to

make a recovery under the Allocation Methodology.” Id. at § 2.15.2. This will be determined in

the following manner:

        The Claims Administrator shall (a) determine the number of Corn bushels
        reported as sold on the Grain Handling Facility’s Claim Form in each Marketing



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       Year; (b) multiplying the resulting bushels in each Marketing Year according to a
       weighted average; and (c) summing the resulting bushels.

Id. at § 2.15.2.1. For purposes of determining the Compensable Recovery Quantities for Grain

Handling Facility Class Members, the same weighted averages described above for the Corn

Producers (Subclass 1 and 2) will be used for each respective Marketing Year.

       For Class Members in Subclass 4 (Ethanol Production Facilities) Compensable Recovery

Quantities means “short ton of DDGs for which an Ethanol Production Facility Class member is

entitled to make a recovery under the Allocation Methodology.” Id. at § 2.15.3. This will be

determined under the following manner:

       The Claims Administrator shall (a) determine the number of short tons of DDGs
       reported as sold on the Ethanol Production Facility’s Claim Form in each
       Marketing Year; (b) multiplying the resulting short tons in each Marketing Year
       according to a weighted average; and (c) summing the resulting short tons.

Id. at § 2.15.3.1. For purposes of determining the Compensable Recovery Quantities for Ethanol

Production Facility Class Members, the following weighted averages will be used for each

respective Marketing Year:

        2013/14 -   44%
        2014/15 -   47%
        2015/16 -   4%
        2016/17 -   3%
        2017/18 -   2%

These averages are based on the evidence and expert analysis in the case.

                      b.     The Proposed Claims Procedure.

       (i) Class Notice. If the Court grants Preliminary Approval of the Settlement, Settlement

Class Counsel will oversee the preparation and mailing of the attached Notice in the form

approved by the Court. See id., Ex. 3 to SA (proposed Long-Form Notice).

       The Notice Plan provides for direct mail, print publication, radio, Internet, and social-




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medial advertising. Under the Notice Plan, a mailing list for U.S. corn producers who received

crop subsidies in any year from 2013-2017 was obtained from the U.S. Department of

Agriculture Farm Service Agency (“FSA”), which identifies 610,054 potential Settlement Class

Members and will be utilized to send out direct mail notice of this Settlement. Declaration of

Orran L. Brown Sr. (“Brown Decl.”) at ¶ 18. In addition, the Notice Administrator will purchase

mailing lists for Ethanol Production Facilities and Grain Handling Facilities in the United States

and any supplemental lists of U.S. corn producers that are deemed necessary to ensure a robust

list of addresses of prospective Class Members. See Ex. A, Ex. 5 to SA (Notice Plan); see also

Brown Decl. at ¶¶ 19-20. These mailing lists will be used to provide the Long-Form Notice of

the Settlement to potential members of the Settlement Class. The Notice contains instruction on

how to download and submit a Claim Form for each of the Settlement Subclasses or to request a

hard copy of the Claim Form. See Ex. A, Ex. 3 to SA at Question 16 (proposed Long Form

Notice).

       Prior to mailing, all mailing addresses will be checked against the National Change of

Address (“NCOA”) database maintained by the U.S. Postal Service (“USPS” or “Postal

Service”). The NCOA database contains records of all permanent change of address submissions

received by the USPS for the last four years. The USPS makes this data available to mailing

firms and lists submitted to it are automatically updated with any reported move based on a

comparison with the person’s name and known address. See id., Ex. 5 to SA (Notice Plan); see

also Brown Decl. at ¶ 17 n.1.

       Any addresses returned by the NCOA database as invalid will be updated through a third-

party address search service. In addition, the addresses will be certified via the Coding Accuracy

Support System (“CASS”) to ensure the quality of the zip code, and verified through Delivery




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Point Validation (“DPV”) in order to confirm the accuracy of the addresses. Ex. A, Ex. 5 to SA

(Notice Plan). Once all duplicates and any Excluded Exporters have been removed from the list

and the addresses have been verified and updated, the Notice Administrator will send the Long-

Form Notice by First-Cass U.S. Mail, to all of the potential Settlement Class Members on the

lists. Id. Additionally, a Notice will be mailed, by First-Class U.S. Mail, to all individuals who

request one via the toll-free phone number. The Notice will also be made available on the

Settlement website, as described below. Id.

       The return address on the Notices will be a post office box maintained by the Notice

Administrator. Id. Notices that are returned as undeliverable will be re-mailed to any address

indicated by the Postal Service in the case of an unexpired automatic forwarding order. For

those notices that are returned as non-deliverable but for which a new address is not indicated by

the Postal Service, the Notice Administrator will do additional public record research, using a

third-party lookup service to identify potential updated mailing addresses. Id. If any address is

found, the Notice will be re-mailed. Address updating and re-mailing for undeliverable Notices

will be ongoing. Id.

       Finally, following the deadline to submit requests for exclusion, the Notice Administrator

will follow-up the direct mailing of the Long Form Notice with reminder postcards to everyone

on the mailing lists who has not filed a claim in the Settlement and who did not opt out. Id. The

reminder postcards will remind Class Members of the important deadlines for submitting a

Claim Form. Id.

       In addition to direct mail notice, the Notice Plan contemplates an extensive publication

plan in which a proposed summary Publication Notice will be published in various national and

state publications specifically selected to target prospective Class Members. Id.; see id., Ex. 4 to




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SA (proposed publication notice). Specific media were chosen to reach the various groups

comprising the Settlement Classes. See Brown Decl. at ¶¶ 24-27.

       The proposed media schedule includes publishing the Publication Notice one time in

various industry publications, both national and state-specific, that are specifically targeted to

reach corn producers, grain handlers and ethanol plants. See Ex. A, Ex. 5 to SA (Notice Plan);

Brown Decl. at ¶¶ 24-26.

       Additionally, there will be digital advertising to provide Class Members with notice

opportunities beyond the print publications. This will include digital banner advertisements on

various social media outlets, including those specifically targeting individuals with an interest in

farming. Ex. A, Ex. 5 to SA (Notice Plan). Where possible, these advertisements will provide

the ability for Class Members to “click through” directly to the settlement website to submit

claims, and they will run until the deadline for the submission of claims or until Settlement Class

Counsel otherwise direct. Id.

       Finally, the Notice Plan provides for thirty-second radio ads, which will air for a two-

week period immediately following the mailing of the Long Form Notice, and again for another

two-week period immediately following the mailing of the reminder postcards. These ads will

air on hundreds of radio stations in the corn belt. Id.

       To augment the Notice Plan, a party-neutral press release will be distributed via PR

Newswire’s US1 distribution, which will reach thousands of print and online media outlets. The

release will highlight the toll-free telephone number and settlement website address where Class

Members can obtain additional information relating to the settlement, including requesting a

copy of the Long-Form Notice and Claim Form. Id.

       To build additional reach and to extend exposures, the Publication Notice and/or Press




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Release will be provided to the various corn trade organizations, including various states’ corn

growers’ associations, the National Corn Growers Association, the National Grain and Feed

Association, and others for their consideration to distribute to their members or for insertion into

news letters or other communications with their members. Publication Notice by these various

organizations will provide additional notice exposures beyond that afforded by paid media. Id.

In addition, Settlement Class Counsel will request that the FSA post at local FSA offices and in

its newsletters around the country a public notice of the settlement informing claimants how to

submit a claim. Id.

       A Settlement Website will be established at the URL www.CornSeedSettlement.com to

enable potential Class Members to obtain information on the Settlement.            The Settlement

Website will allow potential Settlement Class Members to download the Long Form Notice,

submit the Claim Form, and review the Settlement Agreement. It will also have a list of

Frequently Asked Questions and Answers, the substance of which will be agreed upon by

Syngenta and Settlement Class Counsel. The Settlement Website address will be prominently

displayed in all printed notice documents. Id.

       A toll-free phone number will be established allowing Class Members to call and request

that a Notice Packet be mailed to them. Id. The toll-free number will also provide Class

Members with access to recorded information that will include answers to frequently-asked

questions and direct them to the Settlement Website. Id. This automated phone system will be

available around the clock. There will also be live operators available to answer Class Members’

questions. Id. Finally, a post office box will be established, to allow Class Members to contact

the Notice Administrator by mail with any specific requests or questions. Id.

       (ii) Submission, Processing and Review of Claim Forms. Class Members may obtain




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and submit a Claim Form online or they may request a paper copy of the Claim Form. Within

150 days of the mailing of Long-Form Notice, Class Members must properly complete and

submit the Claim Form as instructed in the Notice. Id. at § 4.6.

        Pursuant to the Settlement Agreement, Producer Class Members (Class Members in

 Subclass 1 and 2) must submit a Producer Claim Form (id. at § 3.7.3) through the online

 claims-submission process or in paper, as approved by the Court. See id., Ex. 2 to SA

 (proposed Producer Claim Forms); Brown Decl. at ¶¶ 13-14. The Producer Claim Form will

 include a consent authorizing the U.S. Government to disclose FSA Form 578 information and

 RMA (crop insurance) information to the Class Administrator for the 2013-2017 Marketing

 Years. Ex. A, SA § 3.7.3.1. Such FSA Form 578 (if it exists) and RMA information (if FSA

 Form 578 data does not exist) will be the exclusive manner in which a Producer may

 document an Interest in acreage. Id. at § 3.7.3.1. If no FSA Form 578 (or RMA data if no

 Form FSA 578 data) was filed with the Government for a particular farm or farms during the

 Class Period, Producer Class Members must complete and submit an additional section of the

 Claim Form and provide information that mirrors the information contained on Form FSA

 578. Id. The Class Member must also declare that no Form FSA 578 or RMA Data exists

 with respect to the acreage for which the Class Member is submitting the Claim Form. Id.

        Class Members failing to submit the required release authorizing the government to

 disclose Form FSA 578 information (or RMA Data) to the Claims Administrator or, for those

 Class Members for whom no Form FSA 578 data (or RMA Data) exists, or who otherwise fail

 to properly complete the Claim Form, will have such Claim Form(s) rejected and returned for

 resubmission. Id. at § 3.7.3.1. All disputes over the adequacy or timeliness of the Claim

 Forms will first be decided by the Claims Administrator. Anyone still aggrieved by the




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decision of the Claims Administrator may appeal that decision to the Special Masters. Id.

       Similarly, Grain Handling Facility and Ethanol Production Facility Class Members,

those in Subclasses 3 and 4 (collectively “Non-Producer Class Members”), must submit Claim

Forms, as approved by the Court. See id., Ex. 2 to SA (proposed Grain Handling Facility and

Ethanol Production Facility Claim Forms). These Class Members will be required to produce

true, accurate, and authentic records documenting (1) storage capacity, if a Grain Handling

Facility, or Production Capacity, if an Ethanol Production Facility; (2) the number of Corn

bushels purchased per Marketing Year; (3) the number of Corn bushels sold per Marketing

Year (if any); and (4) the number of short tons of DDGs sold per Marketing Year (if any). Id.

at § 3.7.3.2. Non-Producer Class Members who fail to submit true, accurate, and authentic

business records reflecting the foregoing items of information or that otherwise fail to properly

complete the Claim Form(s) will have such Claim Form(s) rejected and returned for

resubmission. Id. Again, as with the Producer Claim Forms, all disputes over the adequacy or

timeliness of the Claim Forms will first be decided by the Claims Administrator and anyone

still aggrieved by the decision of the Claims Administrator may appeal that decision to the

Special Masters under procedures established and agreed to by the Parties for such appeals.

Id.   Rejected Claim Forms must be resubmitted within thirty days after the Claims

Administrator has issued notice of rejection. Id. at § 3.7.3.3. Class Members failing to timely

resubmit a rejected Claim Form will have their claims denied. Id. Likewise, if, after a second

submission, a Claim Form is still not completed and supported, the Class Member’s claim will

be denied. Id. The Claims Administrator, in conjunction with the Notice Administrator (if

necessary), is obligated to compile various reports detailing the implementation of the

Settlement Process. Id. at § 3.9.




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               3.      Opportunity to Opt Out or Object to the Settlement.

       Each Class Member will also have the opportunity to object to or opt out of the

Settlement. Any Class Member who wishes to opt out must do so, in writing, by timely mailing

a request for exclusion to the Claims Administrator, personally signed by the Class Member,

except as provided for in the Settlement Agreement. Id. at § 4.3.1. The request must contain the

required information as set forth in the Long Form Notice and the Settlement Agreement. Id. at

§ 4.3.2 & Ex. 3 to SA. The request must be postmarked by the Opt-Out Deadline (which if

approved by the Court is 90 days from the date of the first mailing of the Notice). See Id. at §

4.6.1. Class Members who do not properly and timely submit opt-out requests will be deemed to

have waived all rights to opt out and remain in the Class. Id. at § 4.3.6.

       Each Class Member who does not timely opt out may object to the Settlement. Any

Class Member who wishes to object to any term of the Settlement Agreement must do so, in

writing, personally signed by the Class Member, and, must file the written objection with the

Clerk of the Court and mail it to Settlement Class Counsel and Syngenta’s Counsel in the manner

set forth in the Long Form Notice and the Settlement Agreement. See id. at §§ 4.4.1-4.4.3 & Ex.

3 to SA.

               4.      Attorneys’ Fees and Litigation Expenses.

       The Settlement Agreement provides that applications for attorneys’ fees and expenses or

service awards be made by the deadlines established by the Court. See id. at §§ 7.2.1 & 7.2.4.

Any award of attorneys’ fees and expenses will be determined by the Court, the Minnesota state

court, and the Illinois Federal Court. Id. at § 7.2.1. Disputes arising out of client fee contracts

and referring counsel agreements will be determined by these courts as set forth in sections

7.2.3.1 and 7.2.3.2 of the Settlement Agreement.




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                                           ARGUMENT

I.     THE SETTLEMENT EASILY PASSES MUSTER UNDER THE STANDARD
       FOR PRELIMINARY APPROVAL.

       A.      The Settlement Readily Meets the Standards for Preliminary Approval.

       “Because preliminary approval is just the first step of the approval process, courts apply

 a ‘less stringent’ standard than that at final approval.” Nieberding v. Barrette Outdoor Living,

 Inc., No. 12-CV-2353-DDC-TJJ, 2015 WL 1645798, at *4 (D. Kan. Apr. 14, 2015). “The

 general rule is that a court will grant preliminary approval where the proposed settlement is

 neither illegal nor collusive and is within the range of possible approval.” Id. (quoting 4

 William B. Rubenstein et al., Newberg on Class Actions § 13:10 (5th ed. 2015)); see also

 Nakkhumpun v. Taylor, No. 12-CV-01038-CMA-CBS, 2015 WL 6689399, at *3 (D. Colo.

 Nov. 3, 2015) (quoting 4 Newberg on Class Actions § 13:13). “Although the Court must

 assess the strength of plaintiffs’ claims, it should ‘not decide the merits of the case or resolve

 unsettled legal questions.’” Freebird, Inc. v. Merit Energy Co., 10-1154-KHV, 2012 WL

 6085135, at *5 (D. Kan. Dec. 6, 2012) (quoting Nat’l Treasury Employees Union v. United

 States, 54 Fed. Cl. 791, 797 (2002)).        Instead, the Court need only decide whether the

 settlement is “within the range of possible approval.” In re Corrugated Container Antitrust

 Litig., 643 F.2d 195, 205 (5th Cir. 1981). Thus, at this initial stage, “the court’s primary

 objective [at the preliminary approval stage] is to establish whether to direct notice of the

 proposed settlement to the class, invite the class’s reaction, and schedule a final fairness

 hearing.” 4 Newberg on Class Actions § 13:10. If the Court grants preliminary approval, it

 directs notice to the class and sets a final approval hearing, the second step in the process. Id.

        The Court’s analysis is informed by the “strong judicial policy in favor of settlements,

 particularly in the class action context.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d


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96, 116 (2d Cir. 2005) (citation and internal quotation marks omitted); accord Alvarado

Partners, L.P. v. Mehta, 723 F. Supp. 540, 551 (D. Colo. 1989) (noting strong policy in favor

of settlements, particularly in class actions); see Shaw v. Interthinx, Inc., No. 13-CV-01229-

REB-NYW, 2015 WL 1867861, at *2 (D. Colo. April 22, 2015) (“[T]he essence of settlement

is compromise, and settlements are generally favored.”) (citation and internal quotation marks

omitted).

       At the final approval stage, Rule 23(e)(2) requires a finding that the settlement is fair,

reasonable and adequate, and the factors considered in this analysis can serve as a useful guide

at the preliminary approval stage as well. Alexander v. BF Labs Inc., No. 14-2159-KHV,

2016 WL 5243412, at *10 (D. Kan. Sept. 22, 2016) (citing cases), appeal dismissed, No. 16-

609, 2016 WL 9997919 (10th Cir. Dec. 9, 2016); Tripp v. Rabin, No. 14-CV-2646-DDC-

GEB, 2016 WL 3615572, at *2 (D. Kan. July 6, 2016). The final approval standards are well

established under Tenth Circuit law.      A district court should consider: (1) whether the

proposed settlement was fairly and honestly negotiated; (2) whether serious questions of law

and fact exist, placing the ultimate outcome of the litigation in doubt; (3) whether the value of

an immediate recovery outweighs the mere possibility of future relief after protracted and

expensive litigation; and (4) the judgment of the parties that the settlement is fair and

reasonable. Tennille v. W. Union Co., 785 F.3d 422, 434 (10th Cir. 2015); Rutter & Wilbanks

Corp. v. Shell Oil Co., 314 F.3d 1180, 1188 (10th Cir. 2002); Jones v. Nuclear Pharmacy,

Inc., 741 F.2d 322, 324 (10th Cir. 1984). This Settlement satisfies each of these factors.

                     1.      The Settlement Was Fairly, Honestly, and Extensively
                             Negotiated.

       A settlement is considered fairly and honestly negotiated when reached after arm’s-

length negotiations by experienced counsel. E.g., Tripp, 2016 WL 3615572, at *3 (“The


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 contested nature of this suit, the engagement of a neutral mediator, and the extensive

 negotiation process constitute evidence that the parties negotiated the settlement agreement

 fairly and honestly.”); Rhodes v. Olson Assocs., 308 F.R.D. 664, 667 (D. Colo. 2015) (finding

 this factor satisfied where there was no indication “the settlement was the product of

 collusion” and where “the parties ‘vigorously advocated their respective positions throughout

 the pendency of the case.’”); Marcus v. Kan. Dep’t of Revenue, 209 F. Supp. 2d 1179, 1182

 (D. Kan. 2002) (finding this factor satisfied where the “settlement was reached after arm’s-

 length negotiations . . . by experienced counsel for the class”); In re New Mexico Natural Gas

 Antitrust Litig., 607 F. Supp. 1491, 1506 (D. Colo. 1984) (approving settlement where court

 was “wholly satisfied that the negotiations took place at arms length”).

       This Court’s direct involvement in appointing a Special Master and the PNC

demonstrates the arm’s-length nature of the negotiations.        As recounted above, settlement

discussions began after the Special Master was appointed in March 2016. Numerous phone calls

and in-person meetings with Syngenta’s counsel and various plaintiffs’ counsel occurred while

the parties were preparing for trial in the MDL and Minnesota.

       In August 2017, after the verdict in Kansas and prior to the start of the Minnesota class

trial, the PNC was appointed to negotiate with Syngenta, representing both class and individual

interests. The Special Master and Judge Stack began conducting mediation sessions with the

PNC and counsel for Syngenta on a regular basis. This included several in-person meetings as

well as frequent phone calls. These negotiations continued even as the Minnesota class trial got

underway. On September 25, 2017, the PNC and counsel for Syngenta executed a term sheet

with broad outlines for the $1.51 billion settlement. But, even after the signing of the term sheet,

months of extensive discussion and negotiations continued. Again, this involved several more




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months of arm’s-length, adversarial, and often contentious negotiations.          The negotiating

committee was expanded to include, in addition to the PNC, MDL Co-Lead Counsel Stueve and

counsel for Viptera and Duracade purchasers, ethanol plants, and grain handling facilities. Supra

at 14. As a result, each distinct class of interests was represented by separate counsel advocating

on behalf of their interests for a share of the Settlement Fund.

       Ultimately, through an extended series of mediation and negotiation sessions, the Parties

reached the agreement set forth in the Settlement.        Moreover, the history of the litigation

underscores the vigor with which counsel have represented the Class Members in all respects –

including for settlement purposes. Counsel for Plaintiffs litigated the case skillfully against a

well-funded adversary represented by elite defense counsel, who presented sustained and spirited

defenses on Syngenta’s behalf. Plaintiffs overcame motions to dismiss for failure to state a claim

and for lack of personal jurisdiction (among others), vigorous opposition to their motions for

class certification (including unsuccessful petitions to the Tenth Circuit and the Minnesota Court

of Appeals for interlocutory appellate review), multiple summary judgment motions, motions to

exclude the opinions of their experts, and a pre-verdict motion for judgment. Plaintiffs also

vigorously pursued this action despite significant litigation victories for Syngenta. Syngenta

prevailed on a number of issues that narrowed plaintiffs’ claims, including at the motion to

dismiss stage (where Syngenta obtained dismissal of plaintiffs’ failure-to-warn, trespass-to-

chattels, and nuisance claims, among others), at the motion for judgment on the pleadings stage

(where Syngenta obtained an order narrowing plaintiffs’ theories of liability), at the summary

judgment stage (where Syngenta obtained summary judgment on plaintiffs’ Lanham Act and

negligent misrepresentation claims), and at trial (where Syngenta obtained a directed verdict on

Plaintiffs’ failure to warn claims). Although Plaintiffs would have appealed many or all of these




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issues, against all these obstacles, Plaintiffs secured the certification of several classes and a class

jury verdict and compensatory damages in the MDL (although Syngenta prevailed in defeating

claims for punitive damages). Minnesota plaintiffs were in the middle of a class trial when the

term-sheet settlement with Syngenta was reached.

          The $1.51 billion to be paid by Syngenta speaks for itself as to the competence and

 vigor of Plaintiffs’ representation in the litigation and at the bargaining table. This is an

 excellent result given the uncertainties of litigation and risks to the Class described below. In

 sum, the history of the litigation, the Parties’ negotiations, as well as the Settlement’s terms

 demonstrate that the Settlement was fairly, honestly, and vigorously negotiated.

                       2.     Disputed Questions of Law and Fact Remain.

       When considering a Motion for Preliminary Approval, the Court must determine

 whether “serious legal and factual questions placed the litigation’s outcome in doubt.”

 Tennille, 785 F.3d at 434; In re Integra Realty Res., Inc., 354 F.3d 1246, 1266 (10th Cir.

 2004). The appropriate time to measure the risks facing Plaintiffs is the time the settlement

 is reached. In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1346 (S.D. Fla.

 2011).

       Despite one jury verdict on behalf of the Kansas class, substantial legal and factual

 risks to Class Members militate in favor of settlement. Syngenta raised many defenses

 throughout both the MDL litigation and Related Actions. For example, at the preliminary

 stages of the case, Syngenta vigorously argued that it had no legal duty to the Plaintiffs for

 selling a lawful product in the United States and because the “economic loss doctrine” and/or

 an absence of proximate cause broadly required dismissal of Plaintiffs’ claims. See, e.g.,

 Syngenta’s Mem. in Supp. of Mot. to Dismiss, ECF No. 587. Syngenta renewed these




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arguments in its Rule 50(a) motion for judgment at the close of plaintiffs’ case (ECF No.

3265, 3266), and also following the Kansas verdict. Syngenta’s Rule 50(b) Mot., ECF No.

3343; Syngenta’s Mem. in Supp. of Rule 50(b) Mot., ECF No. 3344 at 9, 30, 42. Although

this Court and the Minnesota state court previously rejected these defenses (the post-trial

motion as to the Kansas class judgment is still pending), Syngenta undoubtedly would have

appealed, and given that these issues arguably raise pure questions of law, they would

potentially be reviewed de novo.       Indeed, Syngenta itself sought, but failed to obtain,

interlocutory appellate review prior to the Kansas jury trial, demonstrating its confidence in

appellate review. Syngenta’s Mem. in Supp. of Mot. to Certify Order On Motions to

Dismiss for Interlocutory Appeal, ECF No. 1082 (Oct. 13, 2015). And it was seeking

immediate appeal of the Kansas judgment (if its post-trial motions were denied).

      Success on appeal was necessarily uncertain. Syngenta repeatedly characterized the

Court’s ruling as unprecedented and novel. See id. at 11 (“The ruling on duty is the first of

its kind in this country addressing alleged duties in tort for manufacturers of GM seeds to

restrict the introduction of U.S.-approved traits in the U.S. simply because the traits have not

been approved in a foreign market like China. Significantly, the Order acknowledges that

Plaintiffs’ claims rest entirely on allegations of economic harm, not physical injury. As a

result, the Order would allow an unprecedented obligation in tort requiring Syngenta to

protect other businesses from purely economic harm based on the theory that Syngenta has a

duty to conduct its business ‘at least in part for the mutual benefit’ of others as a result of the

‘inter-connected web’ of relationships in the corn industry.”) (emphasis in original).

Although Plaintiffs disagree with that interpretation, the risk that an appellate court

reviewing the issue de novo might conclude otherwise cannot be ignored and is not easily




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 quantified.

        Moreover, Syngenta’s defense theory was not limited to the Producer Plaintiffs. It

 raised similar arguments against the Non-Producer Plaintiffs, including the grain-handling

 facilities and elevator-production facilities. See MN MDL, Syngenta’s Mem. of Law in

 Supp. of Mot. to Dismiss First Am. Non-Class and First Am. Minn. Class Action Compls.

 for Producers and Non-Producers at 57-68 (Nov. 9, 2015). Indeed, Syngenta contended that

 the duty at issue here would have required “controlling the actions of the Non-Producer

 Plaintiffs themselves,” which it characterized as “literally unprecedented.” Syngenta’s Mem.

 in Supp. of Mot. to Dismiss Am. Compls., ECF No. 857, at 3 (emphasis in original).

        These defenses also carry heightened risk for Subclass 2 (the Viptera/Duracade

 Purchaser Subclass). Those Class Members contracted with Syngenta to purchase and plant

 Viptera and/or Duracade corn seed; thus, the courts may not have applied the “stranger”

 economic loss doctrine, but the most robust and widely followed contractual economic loss

 doctrine. See Syngenta’s Mem. in Supp. of Summ. J., MN MDL (Mar. 8, 2017); Syngenta’s

 Mem. in Supp. of Mot. to Strike Expanded Class Allegations, ECF No. 1494 at 9-21

 (outlining distinct arguments directed at purchasers in this regard). This Court has never

 ruled that Viptera and Duracade purchaser claims would survive Syngenta’s arguments.

 Relatedly, Syngenta raised the defense of the contract limitations against Viptera and

 Duracade corn seed purchasers. Id.             Although the Minnesota state court rejected this

 argument in one bellwether case, that decision would have been potentially subject to de

 novo review on appeal (Order, MN MDL (Apr. 11, 2017)), litigated in all future such cases,

 and this Court had also not yet ruled on that issue.6


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          Syngenta would also likely contend that Class Members in Subclass 2, 3 and 4 would be subject to
comparative fault, assumption of the risk defenses, or contributory negligence. Necessarily, those who purchased


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          Although the coordinating courts largely rejected Syngenta’s argument that it owed no

 legal duty to any of the Plaintiffs, at least one court has accepted it. In Ohio, a state court

 dismissed the claims of a putative class of ethanol plants, finding that: Syngenta had no duty

 to protect against economic harm caused by the intended use of its products, and that liability

 could not extend to parties who did not purchase corn directly from Syngenta but used corn

 affected by Syngenta, concluding this was too far removed, and that the damages allegedly

 suffered by Plaintiffs were the result of regular market activity, among other things. See Ex.

 B, J. Entry, Fostoria Ethanol, 15-cv-0323 (June 28, 2017) (granting motion to dismiss).

 Although raised in the context of litigation brought by an ethanol plant, Syngenta sought to

 apply its reasoning in these cases, and would likely have pressed that argument on appeal if it

 proved unsuccessful here. See, e.g., Syngenta’s Mem. in Supp. of its Rule 50 Mot., ECF No.

 3344 at 1, 3 & 4. This, again, highlights the ongoing risk Plaintiffs had in these litigations in

 proving liability.

          Syngenta also took sustained issue with both the Plaintiffs’ theory of and means of

 proving damages. First, it repeatedly argued that the harm here – the drop in U.S. corn prices

 – was too remote to constitute a proximate cause because it “extends through far too many

 steps—and too many independent actions by third parties.” Id. at 46. Second, renewing

 arguments made during Daubert and Frye-Mack (the expert-admissibility standard in

 Minnesota) motions, Syngenta also repeatedly argued that the damages methodologies

 employed by Plaintiffs were flawed as a matter of law. In its post-trial motion on the Kansas

 verdict, it contended that the damages awarded were too speculative and, thus, must be



and planted Agrisure Viptera and/or Duracade corn seed (Subclass 2) and those engaged in the storage, transport and
resale or grain (Subclasses 3 and 4), prior to Chinese import approval, were participants in the spread of Syngenta’s
unapproved traits throughout the commodity corn seed. Consequently, they would also be subject to unique
defenses not applicable to the Class Members in Subclass 1.


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overturned. Id. at 65.

       As such, despite a jury verdict in favor of the Kansas class, seven more statewide

classes were awaiting trial, and those outcomes on both the issue of liability and damages

were far from certain. As noted, in the MDL, Syngenta moved to set aside the Kansas class

verdict (ECF No. 3343) and was also seeking entry of judgment for purposes of immediate

appeal under Rule 54(b) (ECF No. 3439). If the Court (or the Court of Appeals) adopted one

or more of Syngenta’s arguments, it would have diminished – and possibly eliminated – the

ability of all Plaintiffs to seek compensation from Syngenta.

       The Minnesota class trial was also facing risk. The class trial was underway when the

settlement was reached between the Parties. Despite the Kansas jury verdict, a different jury

could have reached a different result either as to the threshold issue of liability or as to the

amount of damages awarded. And, even if the jury rendered a verdict in plaintiffs’ favor,

Syngenta would certainly have appealed.

       With respect to claims by grain-elevator facilities, Syngenta filed a motion to dismiss

them under the economic loss doctrine in early October 2017.              Those plaintiffs faced

substantial legal risks with respect to the continued viability of their claims.

       In short, years of continued motion practice, trials and appeals regarding the merits

(including numerous questions of law, sufficiency of evidence, and admissibility of experts’

opinions) of the claims lay ahead – with the eventual outcome uncertain and perhaps even

unknowable. In contrast, the Settlement makes available $1.51 billion pure-cash relief, while

eliminating these material risks.

                      3.      The $1.51 Billion Guaranteed Recovery Outweighs the “Mere
                              Possibility” of Additional, Future Monetary Relief.

       Next, the Court should “consider the vagaries of litigation and compare the



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 significance of immediate recovery by way of the compromise to the mere possibility of

 relief in the future, after protracted and expensive litigation.” In re King Res. Co. Secs. Litig.,

 420 F. Supp. 610, 625 (D. Colo. 1976); accord Jones v. Nuclear Pharmacy, Inc., 741 F.2d

 322, 324 (10th Cir. 1984) (court looks to “whether the value of an immediate recovery

 outweighs the mere possibility of future relief after protracted and expensive litigation”). For

 the reasons summarized above, several years of further challenges lay ahead for plaintiffs,

 and victory was far from guaranteed. Moreover, even if they prevailed in the trial court and

 on appeal, a complex and uncertain road lay ahead with respect to the amount they would

 ultimately be able to recover and collect against a defendant whose parent company is

 incorporated and headquartered outside the United States. “In this respect, it has been held

 proper to take the bird in the hand instead of a prospective flock in the bush.” In King Res.

 Co. Secs. Litig., 420 F. Supp. at 625. (citations and internal quotations omitted); accord

 Tennille v. W. Union Co., No. 09-CV-00938-JLK-KMT, 2014 WL 5394624, at *4 (D. Colo.

 Oct. 15, 2014), appeal dismissed, 809 F.3d 555 (10th Cir. 2015).

            The salient question is whether the guaranteed recovery of $1.51 billion outweighs the

 possibility that the Plaintiffs would have prevailed in further motion practice, trials and

 appeals – and then collected the judgment(s) from Syngenta. Given the multitude of risks

 entailed in this litigation, a negotiated settlement guaranteeing $1.51 billion is appropriate

 and in the best interests of the Class.7


        7
           See Swartz v. D-J Eng’g, Inc., No. 12-CV-01029-DDC-KGG, 2016 WL 633872, at *5 (D. Kan. Feb. 17,
2016) (“[T]he value of immediate recovery outweighs the mere possibility of future relief after protracted and
expensive litigation.”); Shaw, 2015 WL 1867861, at *3 (finding settlement was “fair, adequate, and reasonable,
particularly given the significant risks and costs associated with continued litigation.”); In re Dep’t of Energy
Stripper Well Exemption Litig., 653 F. Supp. 108, 117 (D. Kan. 1986) (“The risks of continued litigation are
substantial for all of the parties.”); King Resources, 420 F. Supp. at 627 (“The Court recognizes that had these
settlements not been reached, chances of the class prevailing against settling defendants would have been uncertain
and disbursement of funds to the class, should it have prevailed, would undoubtedly have been delayed for some,
perhaps lengthy, period of time given the high probability of an appeal or appeals in this case.”).


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                      4.        Settlement Class Counsel, Subclass Counsel, MDL Co-Lead
                                and Litigation Class Counsel, and the PNC Believe That the
                                Settlement Is Fair and Reasonable.

        Courts rely on the considered judgment of experienced counsel in evaluating the

 fairness of proposed class action settlements.      E.g., Marcus, 209 F. Supp. 2d at 1183

 (“Counsels’ judgment as to the fairness of the agreement is entitled to considerable weight.”);

 see also Williams v. Sprint/United Mgmt. Co., No. 03-2200-JWL, 2007 WL 2694029, at *4

 (D. Kan. Sept. 11, 2007) (“The endorsement of the parties’ counsel is entitled to significant

 weight.”) (citation and internal quotation marks omitted). Class and individual counsel –

 including the PNC, Settlement Class Counsel, Subclass Counsel, and the MDL Co-Lead and

 Litigation Class Counsel – who are among the most experienced and respected litigators in

 the nation and in the field of GMO litigation, have tirelessly advanced the Classes’ claims

 since the litigation’s inception. As reflected by their signatures to the Settlement and in their

 judgment, the Settlement is fair and reasonable – indeed, it represents an outstanding result

 for the Class. This judgment is based not only on the calculus of risk in engaging in further

 motion practice, trials and appeals, but also the sizable monetary recovery that the Settlement

 delivers now with certainty.

        Relying on the judgment of counsel makes particular sense in the context of

 preliminary approval because preliminary approval is provisional and is followed by more

 formal and comprehensive review and objection procedures. Those criteria are satisfied here.

       B.      THE   COURT  SHOULD  PROVISIONALLY  CERTIFY   THE
               SETTLEMENT CLASS AND SUBCLASSES AND APPOINT CLASS
               COUNSEL.

       Solely for purposes of the Settlement, the Court should provisionally certify the proposed

Settlement Class and Subclasses in order to implement the settlement on a collective basis. Like




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a litigation class, a settlement class must satisfy each Rule 23(a) requirement, and at least one of

Rule 23(b)’s provisions. See Amchem Prods, Inc. v. Windsor, 521 U.S. 591, 613-14 (1997); see

also In re Cmty. Bank of N. Va., 418 F.3d 277, 299 (3d Cir. 2005) (“[C]ertification of classes for

settlement purposes only [is] consistent with Fed. R. Civ. P. 23, provided that the district court

engages in a Rule 23(a) and (b) inquiry[.]”).

       Plaintiffs seek certification of the Class and Subclasses defined above. See Ex. A, SA §§

1.1-1.3 (defining the Settlement Class, Subclasses, and those excluded).           Certification is

particularly appropriate given that both this Court and the Minnesota court have already certified

classes constituting the vast majority of the Settlement Class, concluding that Rule 23’s elements

were satisfied over vigorous opposition by Syngenta and based on the evidence and argument

presented in writing and at the evidentiary hearings. See, e.g., Mem. & Order, ECF No. 2547;

MN MDL Order (Nov. 3, 2016).           Although the Settlement Class is somewhat broader in

encompassing Subclasses 2-4, most of the Court’s findings apply equally to the proposed

Settlement Class, which also satisfies Rule 23’s requirements.

               1.      The Settlement Class Satisfies Rule 23(a)’s Requirements.

                              a.      The Class and Subclasses Are Sufficiently Numerous.

       Rule 23(a) first requires that a class be sufficiently numerous so as to make joinder of all

members impractical. Fed. R. Civ. P. 23(a)(1). Although the Tenth Circuit has eschewed a

bright-line rule as to what number of class members satisfies the numerosity test, Trevizo v.

Adams, 455 F.3d 1155, 1162-63 (10th Cir. 2006), courts in this district have found a class of as

few as fifty sufficient. See Olenhouse v. Commodity Credit Corp., 136 F.R.D. 672, 679 (D. Kan.

1991) (“good faith estimate of at least 50 members adversely affected . . . is of sufficient size to

be maintained as a class action”); see also Schell v. Oxy USA, Inc., No. 07-1258-JTM, 2009 WL




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2355792, at *3 (D. Kan. July 29, 2009) (class of 312 members sufficed based on “sheer” size),

aff’d in part and appeal dismissed in part as moot, 814 F.3d 1107 (10th Cir. 2016); Harlow v.

Sprint Nextel Corp., 254 F.R.D. 418, 424 (D. Kan. 2008) (finding numerosity where there are

“over 120 potential class members”). “A court may use common sense in making assumptions

to support a finding of numerosity.” Pinkston v. Wheatland Enters., Inc., No. 11-CV-2498-JAR,

2013 WL 1302053, at *3 & n.40 (D. Kan. Mar. 27, 2013).

       The Court previously found that the members of the Non-Viptera/Duracade Subclass met

this requirement. Mem. & Order, ECF No. 2547 at 10, 30-33. Subclasses 2-4 also meet this

requirement. With respect to the Viptera/Duracade Purchaser Subclass (Subclass 2), Plaintiffs’

expert, Dr. Bruce Babcock, previously estimated that Agrisure Viptera and Duracade purchasers

produced at least 1.9 billion bushels a year. See ECF No. 2889-2 at 83 (Table 17). Such a large

number of bushels could hardly be grown by a small number of individuals; thus, the numerosity

requirement is satisfied for Subclass 2.

       Numerosity is also clearly satisfied for both of the non-producer subclasses (Subclasses 3

and 4). Based on the lists that have been purchased by BrownGreer, there are approximately

1,569 Grain Handling Facilities in the United States, who are part of the Class and 183 Ethanol

Production Facilities. See Brown Decl. at ¶¶ 19-20.




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                       b.      There are Common Issues of Fact and Law Among Each of the
                               Proposed Class Members.

         In addition, Rule 23(a) requires questions of fact or law common to the proposed class as

a whole. Fed. R. Civ. P. 23(a)(2). “[F]or purposes of Rule 23(a)(2) even a single common

question will do,” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011) (internal quotation

marks omitted); accord DG ex rel. Stricklin, 594 F.3d at 1195, so long as the “determination of

its truth or falsity will resolve an issue that is central to the validity of each one of the claims in

one stroke,” Dukes, 564 U.S. at 350; accord Wallace B. Roderick Revocable Living Trust v. XTO

Energy, Inc., 725 F.3d 1213, 1218 (10th Cir. 2013).

         Again, this Court already found that similar producer classes satisfy this requirement for

litigation purposes as to both the Lanham Act and state-law negligence claims. E.g., Mem. &

Order, ECF No. 2547, at 10-11. It previously identified such common questions as:

          Syngenta’s acts and knowledge in commercializing these products; Syngenta’s
          duty of care with respect to that commercialization; and whether Syngenta
          breached that duty (in the case of the negligence claims; Syngenta’s
          representations and whether those representations were false or misleading (in
          the case of the statutory claims); whether Syngenta intentionally interfered
          with corn producers business expectancies (in the case of the tortious
          interference claims); China’s rejection of corn from the United States, and
          whether Syngenta’s actions cause or contributed to that rejection; the
          importance of China as an export market; and the effect of China’s rejection of
          the corn market in the United States.

Id.    Logically, no different result should follow in the context of the Settlement Class or

individual Subclasses, whose claims all depend on proof of Syngenta’s acts and knowledge and

of China’s reason for rejecting U.S. corn and DDGs. See Mem. & Order, ECF No. 2547 at 11

(“Essentially, anything concerning Syngenta’s actions and the general effects of those actions

presents a common question that will be addressed and answered by common proof.”); accord

Order, MN MDL (Nov. 3, 2016) at 19-20.

         These above-recognized common questions apply equally to the Viptera/Duracade


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Purchaser Subclass. They are not, however, limited to those questions. Questions common to

the Viptera/Duracade Purchaser Subclass include: whether Syngenta had a duty to exercise

reasonable care in its commercialization of MIR162 and/or Event 5307 corn; whether Syngenta

breached its duty of care in its commercialization of MIR162 and/or Event 5307 corn; whether

Syngenta was negligent in breaching its duty of care in its commercialization of MIR162 and/or

Event 5307 corn; whether Syngenta, through its acts or omissions, caused or contributed to

cause the loss of export markets for U.S. corn, including China; whether Syngenta knew or

should have known that its acts or omissions would cause or contribute to cause the loss of

export markets for U.S. corn, including China; whether the loss of export markets for U.S. corn,

including China, resulted in a reduction in the price that corn producers and non-producers

received for U.S. corn; whether Syngenta is legally responsible for the loss of U.S. corn export

markets and the reduction in the price received for U.S. corn, and whether Plaintiffs and Class

members have sustained and continue to sustain damages as a result of Syngenta’s conduct, and,

if so, the proper measure and appropriate formula to be applied in determining such damages for

Subclass. See 4th Am. Compl., ECF No. 3505 at ¶ 410. Additionally, in the case of the two

non-producer subclasses, the common core questions include those noted above, as well as

whether the loss of the Chinese export market for U.S. corn and DDGs resulted in harm to U.S.

Grain Handling Facilities and Ethanol Production Facilities. See id.

       Simply put, to these common questions, “a classwide proceeding [would] generate

common answers apt to drive the resolution of the litigation.” Dukes, 564 U.S. at 350 (citation,

internal quotation marks, and emphasis omitted). Because these issues of law and fact can be

resolved through generalized proof, the Rule 23(a)(2) commonality requirement is also satisfied

within the meaning of Dukes.




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                       c.      The Representative Plaintiffs’ Claims Are Typical of Those of
                               Absent Members.

         The third requirement of Rule 23(a) is that “the claims or defenses of the representative

parties are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The

typicality test “requires a comparison of the claims or defenses of the representative with the

claims or defenses of the class.” Taylor v. Safeway Stores, Inc., 524 F.2d 263, 270 (10th Cir.

1975), overruled on other grounds by Ruckelshaus v. Sierra Club, 463 U.S. 680, 687-88 (1983).

“A class representative must possess the same interest and suffer the same injury as the class

members.” Payson v. Capital One Home Loans, LLC, No. 07-2282-JTM, 2008 WL 4642639, at

*4 (D. Kan. Oct. 16, 2008).

         But “[d]emonstrating typicality is not an onerous burden[.]” Stambaugh v. Kan. Dep’t of

Corr., 151 F.R.D. 664, 677 (D. Kan. 1993); see also Zapata v. IBP, Inc., 167 F.R.D. 147, 160

(D. Kan. 1996). Factual variations among class members do not defeat the typicality test so long

as the class representative’s claims and those of the absent members are based on the same legal

or remedial theory. Adamson v. Bowen, 855 F.2d 668, 676 (10th Cir. 1988) (citing authorities);

Penn v. San Juan Hosp., Inc., 528 F.2d 1181, 1189 (10th Cir. 1975) (same); Nieberding v

Barrette Outdoor Living, Inc., 302 F.R.D. 600, 610 (D. Kan. 2014) (“The interests and claims of

the named plaintiff and class members need not be identical[.]”); Garcia v. Tyson Foods, Inc.,

255 F.R.D. 678, 689 (D. Kan. 2009). Thus, the typicality test is satisfied where the proposed

representative’s harm is the type of harm suffered by absent class members, even if the

representative’s degree of harm may differ. Smith v. MCI Telecomms. Corp., 124 F.R.D. 665,

675 (D. Kan. 1989). Only “vast factual differences” in class members’ individual claims will

defeat a showing of typicality. See Doe v. Unified Sch. Dist. 259, 240 F.R.D. 673, 680 (D. Kan.

2007).



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        Here, as this Court already found for purposes of the litigation classes, the claims of all

members of the proposed Non-Viptera/Duracade Purchaser Subclass (Subclass 1 and by logical

extension the other Subclasses) arise from the same conduct by Syngenta, and the Representative

Plaintiffs assert the same legal claims for Subclasses that they seek to represent. Specifically, this

Court found that “all of the class members are alleged to have suffered the same injury (lower

corn prices from a depressed market) resulting from the same conduct.” Mem. & Order ECF No.

2547 at 11. Likewise, the Minnesota court also found that the claims here satisfy the typicality

requirement of Rule 23. Order, MN MDL (Nov. 3, 2016) at 20-21. The Minnesota court found

that “the claims of all members of the proposed class arise from the same conduct by Syngenta

and all Plaintiffs assert the same legal claims on behalf of the class that they seek to represent.”

Id.

        This same analysis applies equally to the Viptera/Duracade Purchaser Subclass, the Grain

Handling Facility Subclass, and the Ethanol Facility Subclass. The respective Representative

Plaintiffs of each of those Subclasses have claims that are typical of the claims of the absent

Class members they seek to represent because they arise from the same course of conduct by

Syngenta and are based on the same legal theories as are the claims of absent members. See 4th

Am. Compl., ECF No. 3505 at ¶¶ 72-76, 94-403.

        In sum, the Class and Subclasses satisfy the typicality requirement of Rule 23(a)(3).

                       d.      The Representative Plaintiffs Are Adequate.

        The final Rule 23(a) requirement is that “the representative parties will fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This element “serves to

uncover conflicts of interest between named parties and the class they seek to represent.”

Amchem, 521 U.S. at 625 (citing Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157-58 n.13




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(1982)). The adequacy element requires the proposed class representatives to “assure the court

that their interests ‘are sufficient to induce vigorous advocacy on their part; that their interests

are not antagonistic to those of class members; and that they have the means, including

competent counsel, to pursue their case.’” Robinson v. Gillespie, 219 F.R.D. 179, 185 (D. Kan.

2003) (quoting Wyandotte Nation v. City of Kansas City, 214 F.R.D. 656, 661 (D. Kan. 2003)).

        The adequacy of representation inquiry focuses on two issues: (1) whether class counsel

are sufficiently qualified and experienced to represent the class; and (2) whether the proposed

representatives have any conflicts of interest that create a disincentive to fully prosecute the

claims of the class. Rutter & Wilbanks Corp. v. Shell Oil Co., 314 F.3d 1180, 1187-88 (10th Cir.

2002).8 Both are satisfied here.

        First and foremost, this Court and the Minnesota state court have already determined that

the Representative Plaintiffs for the Non-Viptera/Duracade Purchaser Subclass are adequate

when they were appointed to represent the litigation classes. Indeed, the Kansas and Minnesota

Plaintiffs demonstrated their adequacy in having brought their cases all the way to trial. See

Mem. & Order, ECF No. 2547 at 11; MN MDL Order at 21-23 (Nov. 3, 2016).

        The Court should also readily conclude that the Representative Plaintiffs for each of the

Subclasses satisfy the adequacy component because, as discussed above, their claims are typical

of the absent Class members.9 The claims of each of the Subclass Representatives arise from the


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           Once the plaintiff has made a prima facie showing of adequate representation, the burden shifts to the
defendant; absent evidence to the contrary, a presumption of adequate representation applies. Decoteau v.
Raemisch, 304 F.R.D. 683, 689 (D. Colo. 2014); accord Marcus v. Kan., Dep’t of Revenue, 206 F.R.D. 509, 512 (D.
Kan. 2002) (“In absence of evidence to the contrary, courts will presume the proposed class counsel is adequately
competent to conduct the proposed litigation.”); Zapata, 167 F.R.D. at 161 (same).
        9
           E.g., Emig v. Am. Tobacco Co., 184 F.R.D. 379, 387 (D. Kan. 1998) (noting that “[a]n overlap exists in
the typicality and adequacy of representation requirements because if typicality is not present, the class
representatives do not have an incentive to vigorously prosecute class claims.”); Commander Properties Corp. v.
Beech Aircraft Corp., 164 F.R.D. 529, 535 (D. Kan. 1995) (same) (citing Penn, 528 F.2d at 1189); Antonson v.
Robertson, 141 F.R.D. 501, 506 (D. Kan. 1991) (“Typicality also insures that the claims of the class representatives
resemble the class’ claims to an extent that adequate representation can be expected and conflict of interest can be


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exact same conduct by Syngenta and they assert the same legal claims as do the absent members

of their respective classes, giving them every incentive to vigorously pursue the claims on behalf

of the absent members. This Court and the Minnesota state court recognized this when certifying

the litigation classes. Mem. & Order, ECF at 2547; Order, MN MDL (Nov. 3, 2016) at 21.

        There is nothing about the Subclass Representatives that would call for a different

finding. The Subclass Representatives of the Viptera/Duracade Purchaser Subclass – Charles

Cobb (CE Cobb Farms); Robert & Todd Niemeyer (Custom Farm Services LLC) and Marvin

Miller – are all corn producers who purchased and grew Viptera and/or Duracade corn seed prior

to the end of the Class Period. See 4th Am. Compl., ECF No. 3505 at ¶¶ 72-74. As such, their

claims, defenses and damages will be the same as the absent Class members in the

Viptera/Duracade Purchaser Subclass. Similarly, the Subclass Representative for the Grain

Handling Facility – Kruseman Fertilizer Company – owned an Interest in Corn in the U.S. priced

for sale during the Class Period. See id. at ¶ 75. As such, its claims, defenses and damages will

be the same as the absent Class members in the Grain Handling Facility Subclass. Finally, Al-

Corn Clean Fuel, LLC (“Al-Corn”) owns and operates a biorefinery facility. Al-Corn sold its

DDGs on the open market and owned an Interest in Corn in the U.S. priced for sale during the

Class Period. See id. at ¶ 76. As such, its claims, defenses and damages will be the same as the

absent Class members in the Ethanol Production Facility Subclass.

        In sum, each of the Plaintiff Representatives, share the overriding interest of all Class

Members, which is to obtain the largest possible monetary recovery from this case, making them

adequate class representatives.10


avoided.”).
        10
           See In re Glob. Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 453 (S.D.N.Y. 2004) (certifying
settlement class and finding that “[t]here is no conflict between the class representatives and the other class
members. All share the common goal of maximizing recovery.”); In re Corrugated Container Antitrust Litig., 643


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        The Class is also adequately represented by attorneys with extensive experience in class

action and complex litigation, some of whom Plaintiffs now request be approved as Settlement

Class Counsel. Plaintiffs are seeking the appointment of Daniel E. Gustafson, Christopher A.

Seeger, and Patrick J. Stueve as Settlement Class Counsel. Patrick J. Stueve was one of four

attorneys appointed as Co-Lead and Litigation Class Counsel in this MDL and who, along with

the other MDL Co-Lead and Litigation Class Counsel, has led the MDL litigation on behalf of

plaintiffs and tried the Kansas case to verdict. Daniel E. Gustafson participated in leading the

Minnesota state court litigation as class counsel, in the Minnesota class trial, was one of the lead

trial attorneys on behalf of the Minnesota class, and was appointed as a member of the PNC.

Christopher A. Seeger, whose firm also was involved in representing Plaintiffs in the MDL

litigation and who has extensive experience in litigating and resolving class action and mass tort

litigation, was also previously appointed to the PNC. Therefore, Plaintiffs ask the Court to

approve the following counsel as Settlement Class Counsel: Daniel E. Gustafson, Christopher A

Seeger, and Patrick J. Stueve.

        Additionally, each Subclass has been separately represented in the negotiations to ensure

protection of absent members in each Subclass.                  Like proposed Settlement Class Counsel,

proposed additional Subclass Counsel, Messrs. Johnson, Wexler, and Cecchi, have extensive

experience in class action litigation. Plaintiffs accordingly also ask the Court to approve the

following counsel as Subclass Counsel:


                         Daniel E. Gustafson, Christopher A Seeger, and Patrick J. Stueve as Non-
                          Viptera/Duracade Purchaser Subclass Counsel (Subclass 1);

                         Lynn R. Johnson as Viptera/Duracade Purchaser Subclass Counsel

F.2d 195, 208 (5th Cir. 1981) (certifying settlement class and holding that “so long as all class members are united
in asserting a common right, such as achieving the maximum possible recovery for the class, the class interests are
not antagonistic for representation purposes.”) (quoting district court opinion).


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                           (Subclass 2);

                          Kenneth A Wexler as Grain Handling Facility Subclass Counsel (Subclass
                           3); and

                          James E. Cecchi as Ethanol Production Facility Subclass Counsel
                           (Subclass 4).

Attached as Exhibits C-G are resumes for Seeger Weiss LLP, Gustafson Gluek PLLC, Carella,

Byrne, Cecchi, Olstein, Brody & Agnello, P.C., Shamberg Johnson & Bergman, and Wexler

Wallace LLP; see also ECF No. 2164 at Ex. JJJ (previously-filed resume for Stueve Siegel

Hanson LLP).

         Each of these counsel are highly experienced in class-action litigation, litigation

involving farmers, litigation involving crop contamination by genetically-modified seed strains,

or all three.11 Accordingly, the proposed Class and Subclasses pass muster under Rule 23(a)(4).

                2. The Proposed Class and Subclasses Satisfy the Rule 23(b)(3) Requirements.

         In order to certify a class under Rule 23(b)(3), the questions of law or fact that are

common to the members of a class must predominate over any questions affecting only

individual members. Again, this Court has already found that the litigation classes satisfied this

standard (ECF No. 2547 at 12-26) and should do so again for the Settlement Class.

         As this Court noted in its order certifying the litigation classes, the Supreme Court has

recently explained the predominance inquiry:

              The predominance inquiry tests whether proposed classes are sufficiently

         11
             See United Food & Commercial Workers Union v. Chesapeake Energy Corp., 281 F.R.D. 641, 654
(W.D. Okla. 2012) (“experience and competence of the attorney representing the class” may inform court’s Rule
23(a)(4) analysis) (quoting Lowery v. City of Albuquerque, 273 F.R.D. 668, 680 (D.N.M. 2011)); Wakefield v.
Monsanto Co., 120 F.R.D.112, 117 (E.D. Mo. 1988) (adequacy component met where plaintiff’s attorneys “ha[d]
shown that they have considerable ‘experience in the field in which the suit [is] brought’”) (quoting treatise);
Garcia-Mir v. Civiletti, No. 81-4007, 1981 WL 380696, at *6 (D. Kan. May 12, 1981) (adequacy satisfied where
plaintiffs “ha[d] the benefit of competent counsel who have successfully litigated similar cases”); see generally Fed.
R. Civ. P. 23(g)(1)(A)(i)-(iv) (in appointing class counsel, a court must consider “the work counsel has done,” their
“experience in handling class actions, other complex litigation, and the types of claims asserted in the action,” their
“knowledge of the applicable law,” and the “resources that [they] will commit”).


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         cohesive to warrant adjudication by representation. This calls upon courts to
         give careful scrutiny to the relation between common and individual question
         in a case. An individual question is one where members of a proposed class
         will need to present evidence that varies from member to member, while a
         common question is one where the same evidence will suffice for each
         member to make a prima facie showing or the issues is susceptible to
         generalized, class-wide proof. The predominance inquiry asks whether the
         common, aggregation-enabling, issues in the case are more prevalent or
         important than the non-common, aggregation-defeating individual issues.
         When one or more of the central issues in the action are common to the class
         and can be said to predominate, the action may be considered proper under
         Rule 23(b)(3) even though other important matters will have to be tried
         separately, such as damages or some affirmative defenses peculiar to some
         individual class members.

ECF No. 2547, at 12 (quoting Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016)

(internal citations and quotation marks in Tyson omitted). This Court went on to recognize that

Plaintiffs all “allege that the same conduct by Syngenta caused the same injury (lower corn

prices); thus, this litigation involves a great many common questions, including all issues

regarding Syngenta’s conduct and the effects of that conduct.” Id. at 12-13. The Court listed the

many common questions raised in this litigation. Id. at 13.

       Here, the common issues discussed above also satisfy the Rule 23(b)(3) predominance

test because they tower over any questions pertaining to individual Class members, including

members of each Subclass. As discussed above, and as this Court knows from witnessing the

Kansas trial, the central issues in this litigation with respect to each of the Classes are Syngenta’s

representations, acts, and omissions in connection with its aggressive commercialization of

Viptera and Duracade, Syngenta’s knowledge that Chinese approval was anything but imminent

and, given the unrestrained scope of commercialization, that contamination of the U.S. corn

supply was inevitable, and that Syngenta actually foresaw, or at very least should have foreseen,

that the loss of an important U.S. corn and DDGs export market was likely. This Court, as it did

previously, and as the Minnesota court did, should find that common questions predominate with



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respect to the Class and Subclasses. Mem. & Order, ECF No. 2547, at 26; Order, MN MDL

(Nov. 3, 2016), at 35.

       Finally, under Rule 23(b)(3), Plaintiffs also must show that a class action is superior to

individual actions, which is evaluated by four considerations:

               (A)       the class members’ interests in individually controlling the
                         prosecution or defense of separate actions;

               (B)       the extent and nature of any litigation concerning the
                         controversy already begun by or against class members;

               (C)       the desirability or undesirability of concentrating the
                         litigation of the claims in the particular forum; and

               (D)       the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).

       Again, this Court previously found that “class actions would be superior to other methods

of adjudication of these claims.” Mem. & Order, ECF No. 2547 at 27. The Court also noted that

“although both predominance and superiority must be shown under Rule 23(b)(3), the

predominance of common issues in this case makes class resolution superior to litigation of

individual suits by all of the class members.” Id. (citing In re Urethane Antitrust Litig., 237

F.R.D. 440, 453 (D. Kan. 2006)).

         Although this Court also noted that it did not foresee any particular difficulties in the

management of this litigation on a class basis, and that ascertaining class membership did “not

require difficult individualized inquiries,” id., manageability of the litigation is not an issue for

purposes of certifying a settlement class. Amchem, 521 U.S. at 620.

       Moreover, for the reasons that Plaintiffs previously explained with respect to the litigation

classes, individual Class members’ damages, while not insignificant, are simply dwarfed by the

amounts that would be necessary to hire counsel and experts and wage full-throttle litigation



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against a well-financed corporate defendant such as Syngenta, and thus are “negative value”

claims, strongly tipping the balance in favor of the superiority of class treatment. See, e.g., Mem.

& Order, ECF No. 2164 at 117-19; see also MN MDL, Order at 37 (Nov. 3, 2016) (finding that

“the amounts at stake per farm are small enough that separate suites may be impracticable for

many class members.”); Kerner v. City & Cnty. of Denver, No. 11-CV-00256-MSK-KMT, 2012

WL 7802744, at *12 (D. Colo. Nov. 30, 2012) (“[O]ne of the most compelling rationales for

finding superiority in a class action is the existence of a negative value suit.”), report and

recommendation adopted, 2013 WL 1222394 (Mar. 25, 2013).

        In sum, the proposed Settlement Class and Subclasses warrant provisional certification,

along with the appointment of Settlement Class Counsel, Subclass Counsel, and Representative

Plaintiffs, as set forth above.

        C.      NOTICE SHOULD BE DISSEMINATED TO THE CLASS.

        Rules 23(e) and 23(h) require that court-approved notice of the Settlement distributed to

all reasonably identifiable Class members. DeJulius v. New England Health Care Emp. Pension

Fund, 429 F.3d 935, 939 (10th Cir. 2005); 4 Newberg on Class Actions § 8:23. Rule 23(e)(1)

provides that “[t]he court must direct notice in a reasonable manner to all class members who

would be bound by the proposal.”

        Here, Plaintiffs propose a robust Notice Plan that more than satisfies the aforementioned

requirements as well as the mandates of due process. Specifically, Plaintiffs propose individual

notice by first-class mail.       This mailing will be sent to a list compiled by the Notice

Administrator. The Notice Administrator will compile this list by obtaining the names and

addresses of U.S. corn producers who received crop subsidies in any year 2013-2017 from the

FSA, and will supplement this list with any additional names and addresses contained in

specialty mailing lists for U.S. corn producers previously purchased and utilized in sending


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notice to various Class Members regarding the original class certification orders in the various

litigation. In addition, the Notice Administrator has purchased mailing lists for Ethanol and

Grain facilities in the United States. See Ex. A, Ex. 5 to SA; Brown Decl. at ¶¶ 19-20. Again, as

previously discussed, prior to mailing, all mailing addresses will be checked against the NCOA

database maintained by the Postal Service, best available efforts will be made to obtain current

and accurate addresses for all Class members and duplications and excluded individuals and

entities will be removed. Ex. A, Ex. 5 to SA.

         Direct mail notice will be augmented by publication notice in various farm- or corn-

 trade journals and social media outlets read or accessed by Class members, as well as

 dissemination of the publication notice through corn-trade organizations. Id. The Claims

 Administrator also will post the notices and related documents on the dedicated settlement

 website. Id.; see also Section IV.B.1, supra (discussing proposed notice campaign).

         The proposed Long Form Notice, see Ex. A, Ex. 3 to SA (proposed Long-Form

 Notice), follows the question-and-answer format recommended by the Federal Judicial Center.

 It describes:

                the allegations and pertinent procedural history of this class action (question
                 2);
                the Class definition (questions 5-8);
                the terms of the proposed settlement, and the proposed method of allocation and
                 distribution, (questions 10-13);
                how to submit an objection thereto (question 27);
                the process for opting out of the Settlement (question 20);
                the anticipated process for submitting a claim (question 16);
                the scope of the release and binding effect of the settlement (question 18);
                the prospective petition for attorneys’ fees, incentive/case contribution awards to
                 the representative Plaintiffs, reimbursement of litigation expenses, and
                 instructions on to how to submit an objection thereto (question 26, 27);
                details about the fairness hearing (questions 28-30); and
                information on how Class members may obtain additional information, including
                 a copy of the settlement agreement and other pertinent documents (question 32).



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        The contents of the proposed Notice, and the proposed method of its dissemination,

comport with Federal Rules of Civil Procedure 23(c)(2)(B), 23(e), and 23(h), as well as due

process. See generally Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175-77 (1974) (due process

is satisfied by mailed notice to all Class members who reasonably can be identified).

        Accordingly, the Court should approve the form and plan of dissemination of Class

Notice concerning the proposed Settlement. The Court should also appoint BrownGreer as

Notice Administrator and Claims Administrator for this Settlement. BrownGreer is highly

experienced in implementing both notice plans that satisfy the requirements of due process and a

claims administration plan that is user-friendly, streamlined and will provide Class Members,

Settlement Class Counsel and the Court with the necessary support.              Indeed, it has prior

experience administering the Bayer LLRICE GMO settlement. See Brown Decl. at ¶ 9.

        D.      THE COURT SHOULD APPOINT SPECIAL MASTERS TO OVERSEE
                THE SETTLEMENT

        The Settlement Agreement contemplates the appointment of Ms. Reisman and Judge

Stack as Special Masters to oversee various aspects of the Settlement. See Ex. A, SA § 2.63.

Pursuant to the Settlement Agreement, the Special Masters will have oversight into some aspects

of the Claims Process as well as overseeing certain disputes that may arise in the implementation

of the Settlement. See, e.g., id. at §§ 3.7.3.1-3.7.3.3, 3.9.1-3.9.2, 9.18.3.

        The appointment of a Special Master to oversee complex settlements is not unusual. E.g.,

In re Actos (Pioglitazone) Prods. Liab. Litig., 274 F. Supp. 3d 485, 508 (W.D. La. 2017) (“This

Court has kept in close communication with the Special Master and continued to monitor, guide,

and oversee the progress of this matter, and is convinced that due, in large part, to the continuing

administration, oversight, and management by the Special Master, PSC leadership and defense

settlement counsel, all working closely with BrownGreer, that the settlement process has been a


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model of efficiency.”); In re Pool Prods. Distrib. Mkt. Antitrust Litig., No. MDL 2328, 2015 WL

4528880, at *3 (E.D. La. July 27, 2015) (“The Court held a preliminary fairness and settlement

class certification hearing on August 14, 2014. On August 22, 2014, the Court appointed Richard

C. Stanley as Special Master, in accordance with Rule 53 of the Federal Rules of Civil

Procedure, to assist in implementing any subsequent settlements.”); Active Prods. Corp. v. A.H.

Choitz & Co., 163 F.R.D. 274, 283 (N.D. Ind. 1995) (“Recently, many courts have expressly

appointed special masters to achieve settlements in complex litigation.”); see also Fed. R. Civ. P.

53(a)(1)(C) (allowing courts to appoint masters for “posttrial matters”); David F. Herr,

Annotated Manual for Complex Litigation, Fourth § 21.661, at 442 (rev. ed. 2016) (“Judges

often appoint a claims administrator or special master and describe the duties assigned in the

order approving the settlement agreement.”).

       Indeed, such appointments promote judicial efficiency because they relieve the Court

from being bogged down by the administration of the settlement. Especially in a case such as

this, where there are likely to be tens of thousands of claims, which may result in the need to

address issues relating to whether claims were timely and properly filed, whether the information

on a claim form is sufficient, and whether putative opt-outs are valid, among other things. These

types of disputes can be handled more efficiently by Special Masters without the need for Court

involvement.

       In this case, Ms. Reisman and Judge Stack have been intimately involved in the

Settlement process from the beginning. They are well versed in the terms of the Settlement

Agreement, have a good working relationship with all the Parties and are the logical individuals

to appoint to this role. As such, the Parties request appointment of Ellen K. Reisman and the

Honorable Daniel Stack as Special Masters to oversee the duties of the Special Masters as




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specified in the Settlement Agreement.

       E.       THE COURT SHOULD ADOPT THE PROPOSED SCHEDULE FOR
                FINAL APPROVAL PROCEEDINGS

       Finally, as part of their request for preliminary approval of the Settlement, Plaintiffs

request that the Court adopt the proposed schedule for the Rule 23(e) Final Approval

Proceedings, as set forth in section 4.6 of the Settlement Agreement:

                   ACTION                                    TIMING


                                             10 days after issuance of the Preliminary
        First Mailing of Class Notice
                                                         Approval Order


          First Installment of Gross
                                            No later than 30 days after execution of the
        Settlement Proceeds Paid into
                                                       Settlement Agreement
                    Escrow


                Opt-Out Deadline            90 days after First Mailing of Class Notice


                  Opt-Out List                  30 days after the Opt-Out Deadline


             Notice Completion Date        150 days after First Mailing of Class Notice


                Claims Deadline            150 days after First Mailing of Class Notice


              Syngenta Walk Away           30 days after receipt of Opt-Out List, unless
                   Deadline                            otherwise extended


            Motion for Final Approval
                                           14 days after Syngenta Walk Away Deadline
                    Deadline


        Fee and Expense Application
                                             30 days before Objection Filing Deadline
                 Deadline



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                   ACTION                                    TIMING


            Objection Filing Deadline      90 days after First Mailing of Class Notice


        Objection Response Deadline         30 days after Objection Filing Deadline


         Second Installment of Gross
        Settlement Proceeds Paid into               On or before March 31, 2018
              Escrow Account


         Final Installment of Gross
                                          The later of April 1, 2019 or within 30 days
        Settlement Proceeds Paid into
                                            after entry of the Final Approval Order
              Escrow Account



                                        CONCLUSION

       For the foregoing reasons, the Court should grant preliminary approval to the Settlement,

including approval of the method of allocation and distribution; provisional certification of the

Settlement Class and Subclasses, and appointment of Settlement Class Counsel, Subclass

Counsel, and Class and Subclass Representatives; approval of the Notice Plan, the Long Form

Notice, Publication Notice, and Claim Forms; appointment of the Notice Administrator and

Claims Administrator; authorization to disseminate notice to Class members; appointment of

Special Masters Ellen K. Reisman and the Honorable Daniel Stack to oversee the settlement; and

adoption of a schedule for the final approval process. A proposed order is being submitted

herewith.




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Dated: March 12, 2018

Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on March 12, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent notification of such

filing to all counsel of record.


                                      /s/ Patrick J. Stueve
                                      Plaintiffs’ Co-Lead, Liaison, and Class Counsel for
                                      Plaintiffs




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